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               EXHIBIT 3
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                         DECLARATION OF ALVIN SCHMIDT IV

Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

    1. My name is Alvin Schmidt IV. I was asked to review the declaration submitted by
       Zainab N. Ahmad to the Southern District of New York on March 6, 2023, as well as the
       two FD-302 forms that were attached as exhibits to her declaration.

Background and Qualifications

    2. I am qualified to provide an assessment regarding the two FD-302 forms in question
       because of my career in the Federal Bureau of Investigations (FBI). Following my
       service in the U.S. Marine Corps (USMC), I entered the FBI in July 1998, and retired
       from FBI in January 2022. Because I was mobilized back into the USMC from 2002 to
       2006, during which time I was deployed to Iraq and Afghanistan, my total tenure working
       as an FBI agent was approximately 19 years.

    3. During my FBI career, I was involved in investigations concerning organized crime,
       violent crime, and international terrorism, and I led a multi-state investigation involving
       over 20 subjects, which included partnerships with federal, state, and local law
       enforcement agencies. From my FBI experience, I am familiar with advanced
       investigation techniques. In terms of experience directly relevant to the subject matter of
       this Declaration, I wrote hundreds of FD-302 forms and reviewed thousands more.


Explanation of Analysis and Conclusion
   4. As part of my analysis, I reviewed the Memorandum of Law in Support of the Motion for
      Sanctions filed by Plaintiffs on February 23, 2023 (ECF No. 163), the Richard Gates
      Declaration (“Gates Declaration”) that was attached to the Plaintiffs February 23, 2023
      Motion (ECF No. 165-2), the Memorandum of Law in Opposition to the Motion for
      Sanctions filed by Gibson Dunn on March 6, 2023 (ECF No. 168), Ms. Ahmad’s
      declaration and its attached FD-302 forms (ECF No. 169), which were also filed on
      March 6, 2023 as an attachment to Gibson Dunn’s filing, and the other 82 FD-302 forms
      released in the same tranche as the two FD-302 forms at issue by the Department of
      Justice pursuant to FOIA requests in March 2020 (“March 2020 FOIA response”). 1

    5. For reference purposes, I will be referring to the first attachment to Ms. Ahmad’s
       declaration, the 5-page FD-302 form documenting an interview of Richard William Gates
       III on March 18, 2018 that is labeled Exhibit A, as the “2456” memo. And I will be
       referring to the second attachment, labeled as Exhibit B, which is a one-page FD-302
       with only paragraph of mostly redacted text in its body, as the “2470” memo.



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  My review focused mostly on the first page of each FD-302 form in the March 2020 FOIA
response, since the opening page is what contains the information necessary for most of my
analysis. Attached is a compilation of those opening pages (as Exhibit A).
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   6. My understanding from reading the Gates Declaration is that his written testimony is that
      there were two interviews conducted sequentially on Sunday, March 18, 2018, with the
      first involving Office of Special Counsel (“OSC”) prosecutor Greg Andres and the
      second involving OSC prosecutors Andrew Weissmann and Ms. Ahmad for the entirety
      of the latter session. I further understand that Mr. Gates’ written testimony is that he
      believes that “much of” the contents of both of these interviews were memorialized in the
      “2456” memo, and further, that there was no 87-minute interview-within-an-interview
      conducted by Ms. Ahmad that was “documented in a separate 302,” as stated on page 4
      of the “2456” memo.

   7. For the reasons detailed below, it is my opinion, based on nearly two decades of
      experience as an FBI agent that the “2470” memo could not be the memorialization of an
      interview of Mr. Gates (or anyone else) conducted in compliance with FBI procedures,
      and the contents of the “2470” FD-302 form indicate that it was recording a non-
      interview investigative activity that occurred on April 17, 2018, one month after the
      March 18, 2018 interview of Mr. Gates.


FD-302 Forms Serve Multiple Purposes
   8. The FD-302 form is the FBI report format used to memorialize interviews conducted by
      or involving the FBI. FD-302 forms can also be used for other purposes, however, such
      as documenting observations of an FBI agent, providing explanations regarding the
      logging of evidence into a given case file, or documenting the execution of a search or
      arrest warrant.

   9. All FD-302 forms, whether used to memorialize interviews or for other investigative
      purposes, contain certain information, including the following: (1) the file number(s)
      associated with the pertinent case file(s), (2) the name of the FBI agent(s) who can attest
      to the truthfulness of the information included in the document, (3) a listing of persons
      involved in the investigative action, and (4) the dates relating to the investigative activity
      performed, the drafting of the FD-302 form, and its entry into Sentinel, the FBI’s case
      management system.


Date on “2470” Memo Indicates Investigative Activity Occurred on April 17, 2018
   10. The FD-302 template records three different dates, all on the first page: (1) “Date of
       entry,” in the top right-hand side, just above the preamble, (2) “Date drafted,” in the
       bottom, right-hand corner, and (3) “Investigated on,” in the bottom left-hand corner,
       which is the date of the investigative activity being memorialized or documented in the
       given FD-302 form.

   11. Based on my experience, the meaning of each date field on an FD-302 form, including
       “Investigated on,” would be common knowledge and readily understood by federal
       prosecutors.




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   12. As an example, for the FD-302 of Mr. Gates’ interview on March 20, 2018 (Exhibit B), it
       was entered into the Sentinel case management system (“Sentinel”) on April 9, 2018
       (“Date of entry”), the first draft of the FD-302 (typically based primarily on the notes
       taken during the interview) was typed up on March 20, 2018 (“Date drafted”), and the
       date of the interview memorialized by the form was conducted on March 20, 2018
       (“Investigation on”).

   13. The contents of the “2470” FD-302 form show that it was entered into the Sentinel
       system on April 23, 2018 (“Date of entry”), the first draft of the information was typed up
       on April 17, 2018 (“Date drafted”), and the investigative activity being documented by
       the form occurred on April 17, 2018 (“Investigated on”).

   14. Thus, despite the one unredacted sentence in the body of the “2470” FD-302 form
       referencing an interview with Mr. Gates on “March 18, 2018,” the date information
       contained in the “2470” memo indicates that this form is actually documenting an activity
       that occurred on a date almost one month after March 18, 2018.


Several Factors Indicate the “2470” Memo Does Not Document an Interview
   15. Setting aside the date information, the “2470” FD-302 form on its face is not the
       memorialization of an interview at all, regardless of date, which I will explain below.

   16. There are three factors indicating that the “2470” memo is not a memorialization of an
       interview: (1) the body of the memo is simply too short for it be an “interview 302” of an
       87-minute interview, (2) the preamble does not contain key information that is found in
       the other 82 FD-302 forms from the March 2020 FOIA release, and (3) the one sentence
       of the paragraph that is not redacted actually indicates that the “2470” FD-302 is
       discussing or referencing an FD-302 form that memorialized the March 18, 2018
       interview, as opposed to documenting the contents of some “separate” interview
       conducted on March 18, 2018.

   17. In the “2470” memo, the entire contents of the body are all within one paragraph. An
       “interview 302” for a discussion of any meaningful length or detail would require
       multiple paragraphs. As discussed in more detail below, this is because standard
       procedure is that the opening paragraph of an FD-302 form memorializing an interview,
       known as the “preamble,” provides necessary and relevant context regarding the others
       involved in the meeting, among other things.

   18. The body of the “2470” memo is evidently only one paragraph because there is only one
       redaction box. If you look at the other FD-302 forms with significant redactions in the
       March 2020 FOIA response, it appears that each redacted paragraph receives its own
       redaction box. But even if the “2470” memo had another paragraph in addition to a
       preamble, it is highly unlikely that the memorialization of an 87-minute interview could
       be captured within a single paragraph.




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Information Absent from Preamble of “2470” Memo
    19. When an FD-302 form is used to memorialize an interview or a proffer session, there are
        certain common elements that are expected to be included in the preamble, such as the
        participants and the location. Generally, the participants in an FBI interview fall into one
        of three broad categories: (1) the person interviewed, (2) the person(s) conducting
        interview, and (3) other person(s) present, such as defense counsel or a
        translator/interpreter.

   20. For example, I reviewed the other 82 FD-302 forms released by the Department of
       Justice pursuant to FOIA requests in March 2020 (“March 2020 FOIA response”) in the
       same tranche that included the two FD-302 forms that Gibson Dunn submitted as exhibits
       to the declaration of Zainab Ahmad.

   21. All of the other 82 FD-302 forms in the March 2020 FOIA response were used to
       memorialize interviews.

   22. Other than five “interview 302s” (which were among the sessions where no OSC
       prosecutor evidently participated), the preamble in those other FD-302 forms in the
       March 2020 FOIA response identified the name of the person being interviewed, as well
       as the names of the FBI personnel (with the relevant title followed by a redacted name),
       as well as any OSC prosecutors or other government personnel who also participated.

   23. In the majority of those other 82 “interview 302s,” counsel for the interviewee was
       referenced, mostly identified by title and name (which was sometimes redacted) and in
       several instances, noted as not being present. In most, but not all, of the FD-302 forms in
       the March 2020 FOIA response, the location of the interview was also disclosed in the
       preamble.

   24. In the five FD-302 forms mentioned above that did not identify the government officials
       participating in the interview in the opening paragraph, the location of the interview (or
       noting for one that it was conducted virtually over Microsoft Lync) was documented in
       the preamble in each of those five forms. In these cases, the names of the FBI agents
       would still be easily ascertainable in the unredacted version of these five FD-302 forms,
       however, because the name(s) of the interviewing agent(s) would be listed in the “by”
       block at the bottom of the first page.

   25. One of the reasons that it is standard procedure to identify all interview participants in the
       preamble who are not listed in the “by” block at the bottom of the first page is that those
       identities are significant for evidentiary purposes. For example, when there is discovery
       production for prosecutions that proceed to trial, the preamble of the FD-302 forms allow
       discovery recipients to know who witnessed any given interview besides the investigative
       agents listed in the “by” block.

   26. In the “2470” FD-302, the unredacted portion of the preamble does not identify Ms.
       Ahmad or any other government official. In every FD-302 form contained in the March
       2020 FOIA response that documented an interview in which a prosecutor was involved,

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       the title and name of each prosecutor is listed without redaction. Additionally, the
       preamble of the “2470” FD-302 form does not reference the presence of Mr. Gates’
       attorney.

   27. Thus, based on the pattern of redactions from the March 2020 FOIA response and my
       own experience and background from nearly two decades at the FBI, I would have
       expected Ms. Ahmad’s title and name to appear in the unredacted portion of the preamble
       if the “2470” FD-302 form was, as Ms. Ahmad stated in her March 6, 2023 declaration,
       the memorialization of an interview that she participated in. But neither Ms. Ahmad’s
       title nor her name appears in the unredacted portion of the “2470” memo, which is
       another indication that it was not an “interview 302.”

   28. If the “2470” FD-302 form was actually the memorialization of an interview, I also
       would have expected a location to be mentioned in the unredacted portion of the
       preamble, even if the specific address was redacted or perhaps not listed. But the fact
       that there is no mention of a location in the unredacted portion of the preamble is yet
       another indication that the “2470” FD-302 form is not the memorialization of an
       interview.


Reference to Serial Number in “2470”
   29. The last factor indicating that the “2470” FD-302 form was not used to document an
       interview is the reference in the one unredacted sentence to “Serial 445 of captioned
       investigation.”

   30. While it is impossible to know what exactly is discussed in the redacted portion of the
       “2470” FD-302 form, the mention of “Serial 445” suggests that this form was created to
       document an investigative activity on April 17, 2018 that related to an interview of Mr.
       Gates one month earlier, on March 18, 2018.

   31. As an example, it could be that this “2470” memo documented a request or comment
       from one of the prosecutors shared with the FBI agent in the “by” block in the bottom of
       the page, or it could be that the FD-302 form that memorialized the March 18, 2018
       interview of Mr. Gates was added to or removed from a given case file. But as already
       noted, it is impossible to know what investigative activity was documented without
       viewing the contents of the redaction block, other than that the “2470” memo was not the
       memorialization of an interview conducted in compliance with FBI procedures.

   32. Although this is technical, it is potentially significant that the unredacted sentence in the
       “2470” FD-302 form states that the March 18, 2018 interview of Mr. Gates already had a
       Serial Number. A piece of evidence is automatically assigned an FBI Serial Number
       after it is entered into Sentinel, and that Serial Number is its identifier within a given case
       file.

   33. This is potentially important because the 5-page “2456” FD-302 form that documented
       Mr. Gates’ March 18, 2018 interview could not have been assigned a Serial Number at

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       the time the “2470” FD-302 form was completed, since the “2456” form was entered into
       Sentinel on April 25, 2018, which is two days after the “2470” form had already been
       entered, on April 23, 2018. (The “Date of entry” is automatically populated by Sentinel
       when an FD-302 form is entered into the system.)

   34. It is possible that that the FBI agent who authored the “2470” form essentially guessed
       what Serial Number would be assigned to the “2456” form (since Serial Numbers are
       sequentially assigned in increasing chronological order), but in my experience, this would
       be highly unlikely and not considered acceptable practice by any FBI agent.

   35. Once an FD-302 form is entered into Sentinel, its contents cannot be altered or edited in
       any way. The only changes that can be made would be to add the form to a new case file
       (or files), to remove it from a given case file, or potentially to delete it from Sentinel
       entirely. Either of the latter two actions require approval from the appropriate personnel
       at FBI Headquarters in Washington, D.C., which would mean that a record would exist of
       any such actions having been performed. (I have personally never seen an FD-302 form
       deleted entirely from Sentinel, but I believe it is possible.)

   36. Based on my nearly two decades of experience at the FBI, I believe that the “Serial 445”
       reference indicates one of three things: (1) that the author of the “2470” FD-302 guessed
       about the Serial Number that would be assigned to the “2456” form, (2) that there is
       another FD-302 of an interview of Mr. Gates on March 18, 2018, but which has not been
       made public yet (even in redacted form) pursuant to the FOIA requests submitted by
       media organizations, or (3) that the “2456” form was drafted to replace an earlier version
       of an FD-302 memorialization of the March 18, 2018 interview of Mr. Gates that was
       either moved to a different case file or potentially deleted from Sentinel.

   37. Regardless, the reference to “Serial 445” is another indication that the “2470” memo
       form does not document any interview, but instead documents an investigative activity
       that occurred on April 17, 2018 regarding the March 18, 2018 interview of Mr. Gates.


Unusual Aspects of the “2456” Memo Not in Accordance with FBI Procedure
   38. I believe it is important to address what I believe to be several highly unusual aspects of
       the “2456” memo that were not in accordance with FBI procedure. In particular, I find to
       be of concern the following: (1) that Mr. Gates’ attorney was not mentioned in the
       preamble of the “2456” memo, (2) that only three emails are discussed as having been
       shown to Mr. Gates, even though the Gates Declaration suggests that he was shown many
       more exhibits, and (3) the bracketed paragraph regarding Ms. Ahmad’s purported arrival
       and departure is something I do not recall having seen in nearly 20 years in the FBI.


Mr. Gates’ Attorney Not Listed in Preamble
   39. As an initial matter, Mr. Gates’ attorney Thomas Green, submitted his own signed
       statement in this litigation, in which his written testimony was that he was also present,
       and Ms. Ahmad did not dispute that Mr. Gates’ attorney was present with him on Sunday,

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       March 18, 2018. In the preamble of the “2456” memo, however, there was no mention of
       Mr. Green’s participation.

   40. While Mr. Green not being named in the preamble of the “2456” memo could have been
       an oversight, there are layers of protection to prevent against an accidental omission,
       including the FBI personnel in the “by” block at the bottom of the FD-302 form and the
       relevant supervisor needing to formally approve the veracity of the document before
       entering it into Sentinel.


How Emails Shown to Mr. Gates were Discussed
  41. In terms of the content of the “2456” memo, the body’s narrative discusses three emails
      being shown to Mr. Gates. Although the discussion regarding Mr. Gates’ responses to
      those three emails seems to be documented in accordance with standard procedure, the
      Gates Declaration suggests that he was shown dozens of exhibits in total, between emails
      and screenshots of WhatsApp messages.

   42. Standard procedure would require that all such exhibits shown to Mr. Gates be not only
       included in the notes attached to the FD-302 form, but also identified in the body of the
       “interview 302” itself in a manner that, on request, they could be produced (this is
       particularly important when a large volume of material makes copying difficult). And
       yet, the body of the “2456” memo mentions just three total emails, and no screenshots of
       WhatsApp messages, as having been shown to Mr. Gates.

   43. For the sake of comparison, there are two “interview 302s” attached that were released in
       the March 2020 FOIA response that demonstrate the proper procedure, for Richard
       Hannah Davis on February 8, 2018 (“Davis 302,” which is attached as Exhibit C) and for
       Thomas “Tad” Devine on July 6, 2018 (“Devine 302,” attached as Exhibit D).

   44. In the Davis 302, this is a partial, but sufficient example of how the body’s narrative
       documented evidence being shown to Mr. Davis: “DAVIS was shown promissory notes
       from 2005 and 2007 from DMP to DAVIS (Exhibit 2). DAVIS did not recall executing
       promissory notes and did not know why he would have a promissory note. He does not
       recall receiving the money or the promissory note.”

   45. In the Devine 302, approximately half of the six-page body was the section called
       “Documents.” The section begins, “Devine was shown the following documents:,” and it
       is followed by a list of 22 items, which included a detailed description of the exhibit in
       question and Mr. Devine’s reaction and response to each. For example, the first item
       states: “1. Consulting Agreements between Devine related entities and Paul Manafort.
       Devine stated these were standard contracts where there would have been schedules
       attached hereto. Document 009 would have been the contract for the 2010 Ukraine
       Presidential Campaign.” This is in accordance with proper FBI procedure.

   46. At the end of the Devine 302 is the statement, “A copy of the above-referenced
       documents and interview notes have been attached for the file.” This is intended to help

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       facilitate the discoverability of the exhibits shown to Mr. Devine during the interview.
       This is in accordance with proper FBI procedure.

   47. In the “2456” memo, however, only three emails are discussed, which is inconsistent at
       least with what was stated in the Gates Declaration. Further, there was no exhibit number
       assigned to any of those three emails, and there is no note in the body regarding these
       emails (or any other materials) being attached to the FD-302 form. Regardless, given the
       layers of approval needed to enter an FD-302 form into Sentinel (as described above), it
       is my professional opinion that the entire collection of exhibits shown to Mr. Gates on
       March 18, 2018 should be attached to the “2456” memo in Sentinel.


Highly Unusual Nature of Bracketed Paragraph
   48. The most concerning aspect of the “2456” memo, though, is the highly unusual nature of
       the bracketed paragraph stating that there would be a “separate” FD-302 form
       documenting what it noted was an 87-minute interview-within-an-interview conducted by
       Ms. Ahmad and a Supervisory Special Agent (whose name is redacted), which is the
       second paragraph of page 4 of the “2456” memo.

   49. In FD-302 forms used to memorialize interviews, FBI agents have significant latitude
       regarding the style and level of detail contained in the body of the document. Broadly
       speaking, however, FD-302 forms for interviews are intended to be concise summaries of
       a given interview.

   50. Many FBI agents will organize the narrative of the interview in an FD-302 form by
       categorizing according to the subjects discussed, as opposed to a chronological recording
       of the interview. The author of the 5-page “2456” FD-302 form, for example, appears to
       have followed a subject-based structure, as opposed to a chronological ordering of the
       interview.

   51. Thus, based on my experience, the bracketed paragraph on page 4 of the “2456” form
       regarding Ms. Ahmad’s arrival and departure does not seem to fit within the format and
       structure of the narrative utilized by the authoring agent.

   52. In “interview 302s” that are structured chronologically, I have on occasion seen
       comments inserted somewhere within the body of the narrative regarding things such as
       breaks or certain participants arriving or leaving.

   53. For “interview 302s” following a subject-based structure, I do not recall ever seeing in
       nearly two decades at the FBI a bracketed comment somewhere within the body of the
       narrative stating the time of arrival and departure of a certain prosecutor or FBI agent
       mid-interview. The standard procedure in a subject-based structure is that such
       information regarding someone’s partial participation would be noted in the preamble or
       at the end of the body of the narrative.




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                   EXHIBIT A
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                                                                               Date of   entry   OS   / 04 / 2-078


            SAMUEL HARVEY CLOVIS JR.,  daLe of birth (DoB                     was intervielred
            on 1.A/2612O17 at the Federa:|" Bureau of f nvest    gati.on and Specia:1. Counsel
                                                                                                                     b5
            Office located at 395                  Was            D.C. Present for the                               b7c
            inl-erview were Agenl-s                ai                        Special Cc'unse1
            Attorneys JEANNI                W GOI,       IN and AARON ZILINSKY. CLOVIS A1SC
            had his  atLorney,                        pr esent.  CLOVIS provided the
            following informat on:
                                                                                                           b5 per DoJloIP


                                                                                                           b5        r DoJ,/olF




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                                            FEDERAL BUREAU OF INVESTIGATION

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           SAiVUEL HARVEY CLOVIS JR. , date of birth (DOB                 was intervi-ewecj
           on 1O/O3/2O1'7 at his place of emplolnnent, tt. .S. Department of Agri.cul.t-ut e,
                                                                                              b6
           1-400 Jef ferson Drive, Idas    ton DC. Af:er bei       adwised of the identit Y bzc
           of inlerviervin g Agenl-s
                       and the nature oi- Ehe rntervlew, CLOVIS provicted the foilowing
             n ornia          on;

           Abcut orre quarter of the way throuc{h the interview, CLOVIS was advised
           rhat 1y:i ng to the agents corrlcl constitute a fecieral offense- He rJid no1-
           indicate vranting to change any of his previcus statements at that time
           Sackgrourrd

           CLOVIS started  oft the intervj-ew by e>:plaining that he hates Russra and
           ihat should be c.l-ear throughrut his interview. CLOVIS was an Air Force
           fighter pilot and rdorkecl at lhe Pentaqon during the period 1984 to
           1988. CLOVIS described hlmsel-f as a Soviet.clogist, acaing as a think tank
           for the chief of staff.    C:,OVIS was an expert on Russia and Eastern Europe
           with additional- expertise in the Middle East. CI,O\IIS was essentially a
           wargame specialist on a red Ceam.

           CLOVIS was picked up for    the campaign because cf his broacl policy
           background. In addition to ris military;ime,        CLOVIS had run for office
           in for"a where he for:ncl ot:t he wa.s good at campaigning but- not at
           fundraising. The TRUMP campaign recruited him heavily. CLOVIS had met
           TRUMP during the l-ate suruner of 2C1,4 vrhile CLOVIS vras running for state
           treasurer. CLOVIS was fundraising for S'I'jIVLI KING, CLOVIS' congressman 1n
           Iowa, when TRUMP u/as a keynote speal:er. TRUMP pul1ed CLOVIS off to the
           side and spoke with hirn at tirat event. Then, in spring of 2015, CLOVIS
           was asked to introduce TRi.ll"lP for a Lincoln di-nner at Counci]
           3.1-uffs. TRUMP liked i,t and aLCVIS narrated a town hall for him shortly
           after that.
           CLOVIS got a cal] from TRttI{P's people asking CLOVIS lo be on the campaign
           if TRUMP ran for president. CLOVIS was helping a friend with a d:-fferent
           campaign at the time.              So he decl-ined and was asked to consider the TRUMP

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               SAMUEL I{ARVEY CTOVIS JR. ,                           daLe of birth      DOB )          was approached b5
               by Agents                                       and                 at hi.s placa of b7c
                                                                                            onl
               employment, U.S. DePartmen: cf Agr cu ure, l-4 00 Jefferson Drive,
               Wasiringl-on, DC a"tl-er being previously inl-erviewecl t,l-ra L sanre day . Af Ler
               ahe agents rdentifj-ecj themselves' CLOVIS prcvlded the tollowing
               inf ornration:




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               ULOVIS was askecl who tooli ov3r harrclling the foreign policy team and
               repliecl that he didn't knorv aho took it over. CLOVIS explarned that
                                 and J.D. GORDIN tried to keep the group together. CARIER
                      an G        PAPADOPOULOS were not invol-ved with the campaign
               team. T           e not   a ers    the ca mpaagn                                                                                           b6
                                                     PAGE wasn't even at :he March 31, 20]-6                                                              b1c
                                                                                                                                                          b3
               meet ng. c]Jov15 t        t                 was cul-tivati  that
               group. MICHAEL FLYNN' KEITH KELLOGG and                    went to vrork- in the
               l.lew Y k office.    Cn occasion JARED KUSHNER woul-d se   things to CLoVIS as
               wefl.                   RICK DEARBORN handled PolicY.

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            RICHARD HANNAH DAVIS (DAVTS) was interviewed at    t,he Office of Special
            Counsel, Vlashington, DC on Febraury 8, 2018. Present for the duration of
            Ltre inl-erview were FBf Special Agent                  Foreirsic Acc<-runl-anl-                                                       b6
                             and Special C3unsef Attorneys Kyl-e I'reeny and Greg Andres                                                           b1c
            Also present was DAVIS' s altsrneys                                       of the
            law firm Petrillo, Klin a Boxer LLP. After being advised of the
            iclentjties of Lhe jntervierving part-ies and the naLure of t-he int-erview,
            DAVIS provided lhe folfowing informati-on:

            ]AVIS was advisecl lris participation in the interview was voluntary. DAVIS
            was also advised he needed t3 be truthful i-n his ansi\rers and lying toa
            feCeral- agent could constitute a federal crime. DAVIS acknowledged his
            rights and obliEations.
            Baekground

                                                                                                            After
            being inwol-ved in campaigns in Al-abama and Mississippi, he got more
            invol-ved in politics and came to V4i-ashington, DC. He became involved with
            ihe callege Republican National Committee durlng 1980 when Reagan was
            nominated. He worked with iES ATWATER o:ganizing smaIl campaigns for                                                                   b6
            Reagan. He ended up uorking as White House staff. DAVIS worked for the                                                                 b7C
            Department of Health and Human Services in a role as White House Liaison
            and was invo.l-ve,C in speech writing. When he left the admini-stration, he
            worked r,+ith                                  ANd PAUL MANAFORT (MANAT'ORT ) as
            consultants managing a senate campaign in Virginia.
            During the Reagan adminj-stration, DAVIS worked in the )epartment of
            Interior as wel-I as the Comm3rce Departnent. DAVIS worked for Thomas
            Barrack (BARRACK) where he was introcir-icecl tc MANAFORT.
            He worked for AIWATBR again Curing Reagant s 1984 reelection campaign.
            Af LerwartJs, he dj-d <Jorneslis po1 icy wolk fr:r Redgan. In 1987, tre lefl and
            joineci BLACK, I{\NAFOF.T, STONS AND KELLY. This was DAVIS's first ti-me
            working with I'{ANAFORT, but he had known him previously. lle started as an
            associate in the firrn and ihen was promoted to junior partner. The firm
            was bi -parti san. Tn the ear-l y 1 99Cs, BL,ACK, MANAFORT, STONEI AND KlT,l,,Y was




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 to bc disllibtrtcd or{sidc l our agencl .                                                             FBI(19cv1278)-2254
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                                                      date of birth      (DoB)                         social"                 b6
              DIANA DESTINE DENMAN,
                                                                                                                               b7c
            secur.j.ty account- nllmber
                    was interviewed at ihe FBI Special Counselrs Office, 395 E Street
            SW, WashingLon, D.C. on Decenber 4, 20L7. Present for the int-erview were
            Supervi-sory Speclal Agent                               clal Counsel Altorne y Aaran
            Zelinsky, and DENMANTs attorneY,                                  After being advised
            of the identily of the interyiewing aqent and           the  nature of the intervieu',
            DF:NMAN prorri derJ the f n I I owi n1 i nf ormat i on:

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             (v/ &u+) Diana Destine DEI,IMAN, date of birth DOB                                                                                                  b6
             soci.a.l. secrlri.ty accor:nt nttmb*.::                                                                                                             b7e
                              was intenri-ewed by SAs
             aL t-he FBI San Antonio Field Office on Jure 7, 2017. Aft,er being advised
             of the identiiy of the interuiewlng agents ancl the nature of the
             inLerview, DENI{AN provided tre fo}Iowing information:
             {U//feg€j DIM"LLN was a RepubLican delegate for the staie of Texas ai the
             201 6 Reptrblican Natic'nal Convention (RNc) jn Clerrelancl , Ohio. DENMAI{ was a
             delegate for Senator Ted Ci:uz. Although first a Cruz delegate, DEI'IM;\N
             sLatec.: slre neverLlrel-ess suppJrLed Trurnp due Lo lrer cluLy Lo l.rer counLry arid
             rhe Republican Party. IJ|jNMAN tirst participated in a RepubJ-ican National
             Convention 1990 in Detroit, -ulichigan, but she wasnrt officially         a delegate
             untiL the 1984 Republ- j-can i'labional Conven:icn in Dallas, Texas. DEN1'1AN
             noterJ she foolishly ci i.d no: nrn for t-he Plafform Commir.l,ee in 1984 br:t she
             wishes she had. DENMAII did nct partici"pate in subsequent national
             corrventions until- the 2Oi6 R\c.
             (U//I.€'€€J DENIVIA|I noted this 2016 RNC '/ias personall5r important to her due
             io her belief of the poor current state of US national security poJ-icy.
             DENMAIi informed the intervielling agents she "wcrked her contacts" to make
             certain she was on a subcommittee that maitered to her. Therefore DENMAN
             l-andecj on Lhe nationaL security and defense subcorunittee, offj"ciall-y named
             America Resurgent.

             g/tffiA€) DEM,IAN advised approx.imately one to two ueeks before the RNC she
             received a phone cal-1 from Matthew l"lil-l-er. Acccrdj-ng to )ENMAN, MilLer
             stated he was hired by the Trump Campaj,gn and wanted Lo touch base
             regarcling the national- security and defense subcommj-ttee and he offered to
             hetp in her in any way he cou1d. DENI{AN strated she was gracious during the
             phone cal-l but tol-d Mll,ler sne dj-cn't need any he.l-p.

             (u/lfeu+| According to DEM{A\, she received an email when arriving in
             Cl-evel,and for the RNC from Washington, DC delegate Rachel HOFF. DCNMAN



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  to bc dislribulcd orlsidc J'our agcnc.r'.                                                                 FBI(19cv1278)-2277
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                                                         FEDERAL BUREAU OF INVESTIGATION

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            On Friday, July 6, 2CL8, Thonas "Tad" Devine was interviewed at the Office
            of the Speci-al. Counse.l. Lry Senior            s             sel Greg D, Andr:e*s,
            DOJ Senior inanciaf I          tigator                         ancl FBI Forensic
                                                                                                                                              b6
            Accour:L<rn                    Also  presenL was Devj-ne's al-
                                                                                                                                              b7c
                      Garvey Schubert Barar, P.C., telephone number
            After bej_ng advised the j-dentities of the intervi.evring part i-es, Devine
            furnished the following lnformatlon:
            Baekgtround:

            )evine has been a political nedia consultant/advisor since approxlmately
            L9g0 wlrel lre wor ked c,n Llre PresicjenL .Iirurry Car ter canrpaigrr. lrr adclj-Licn Lo
            worki-ng on the Pre.sicent:-al sampaigns for Walter Mondale, Michae.l- I-lukakis
            and Jchn Kerry, Devj-ne served as the Chief of Staff for fornrer Providence
                                                                                                                                              b6
            I{a          Jos              Pao Iino and was an Assistant tc                Boston Universlty President
                                                                                                                                              b7c
                                                   ine aIso pro',2.i cJed senrices for approximat-el y 20
            presioentia] elections outsile of the Unir-ecl States. Most recently,                                           Devi-ne
            wqrkecl for- Belnie Sat-rclers.
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            Since 1983, Devine has been a partner in several political                                   nredia                               b7c
            consu,l.t i          or arotrnd 7-OQ7 '     ormed Devi.ne
                                 n or ar)und   2013                                                                         form
            Devine Mulvey and Longabauch

            llkraine:
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                                          ,nnq   f Darris Manafort reached out Lc, Devine's                                                   b7c
                           at D& D Media Inc.                     to inquire about thei::
            jnf er:est in wor:kjng in IJltr:aine. After: speaki ng with Maaafort on the
            telephone, Devine travcl-ed to Ukraine and met r,'rith ManaforL and the Party
            of Regiqps (POR). Devirre recalled bej-ng inrpressed wiLlr Llie carrrpaigrl team,



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               Ri.chard lrli I liam Gat-es f IT rev1c) usl y ident-if iecl , was inte
            FBI Special-  Agent                        Supervisory Special Agent                                                                              b6
                                                                                                                                                              b7c
            Forensic Accounl-anl-                      and Speciaf Counsel Pr'<;'secuLors Andrew
            Weissmann and Gre Andres. Present for Gates were 'I'homas Green,
                                           f siJley Austin LLP. After being advised of t
            icientities of the lntervler'ling parties and the nature of the interview,
            Gat-es provi ded l-he f o l lolv j ng i.nformat i on :

               Gates signed .and .:cknowleCAed underetsnding the proffer agreement and
            was remj"t-rcled lhat tl're inte::view was volurriary, but if he cl-rose to answer
            questions he needecl to be :rithful in ]ris respcnses.

                                                                                                                                                              b6
                 Gates                                                                                                                                        b7c




                 Gates stated                                                                                                                                b6
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                 Ga Les        s LaLed LttaLLirere are thirl s he canno'L recall- clearl                    For'
                        le     Gates coul-d not keec afl                                                                                                     b6
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                                                                                  wj-th Gatcs.        Gates may                                              b5
                  In gcncralt                                                                                                                                b7c

            Ki,Limnik Y-isils




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             On \O/29/2OI8t SA                nd Specia] Counsel Prosecutor Andrew                                                                      b5
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             Weissmann intervlewed RICHARD GATES III ai the offices of GAIES' counsel.
             GATES' counsel, Tom Greene was present for the interview. GATES provided
             the foflo!,1nq information:
             I'ANAEORTT s China Efforts

             I"{ANAFCRT vrorl<ed with                            natel          ne     ro ect in China that                                             b6
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             lrever rna LeriaL izecl
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             IIANAFCRT harl rriecJ fc' get sone Ch i nese na- i.ona I s i nto : he i nartgrtr:at i on,
             but CATES said no. GATES infcrmed                    of the si-cuation but did not                                                         b6
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             krrcw wlraL lrapperrecl after Llral. GATES was:loL dwdre of atry Chinese nrorley
                                                                                                                                                        b1e
             makrng i.ts way into the PIC.

             !4ANAFORT Ukraine 9{ork

             In 2010, DMP hired a number cf
             incluciin                                                                                                                                  b6
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                                                                                 lwas a I                                                               b7c
             was brought in as a                                                     to do Party of Regions
             grcuniwork.

             After the US Presidentia. election, GATES never heard an                           lans regarding
             IasLern Ukraine. MANAFOR? asked GATES Lo connect                                        ith the                                           b5
             I-lkrainian Ambassaclor to open a l-ine of dialcgue between f,ONALD TRUMP and                                                             b7c
             PBTRO POROS}IBI.IKC.

             IIIAI]AFCRT told             GATES thAI                                                                                                   b6
                                                                                                                                                       b'7c
                                               GATES was not aware of       a rel-at aon shi-p between PATTEN
             and KILIMIIf K.

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  lo be distribulcd crrrlside ;"our ageucl.                                                               FBI(19w1278)-2322
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               Richard Gates III was contacfed at Sidley Austin, L501 K Street,
               Washi ngton, D.C. , in the presence of h j s attor:ney, Tom Gr:een. Present for
               Lhe intcrview was Sen i-or Assietant Specia                  ) Zainab Ahmad,
                                                                                        AssisL                                                              b6
               SASC Andrew Weisstrtan,
                                                                                                                                                            b7c
                 ent in Char ge (ASAC                                         d Special Agen
                         ter bei-ng informed rf the official              identities of all- present'
               Gat.es providecl the follor,uing informalion:

               Gates .stated that at lhe r:rrlset c,f h,i s and Patrl Manafort/ s work wi lh Lhe
               Trump campaign (in March 2016) the two had no control of budget or
               f inarrces. Followirrg Llre Ap:il 2016 pr j-tuaries in wlriclr Trutttp Lcir-rk sotrLrol
               of lhe hepubli-can race, he (l'rump) directed Manafort to develop state
               budget s. The amounts in the state budgets were nLinimal at first
                ( apprcximately              o start most l- :o finance direc t nrailings ) .                                                               b6
                                                                                                                                                            b7c
               i,arger  hr:clgets varied bet-ween                                typ:i r:aJ l.ir spent
               on meiia. Gradual-ly, Gates ancl Manafort took mcre      and   more   control of
               buCgets a.s a sLrategy to win delegates took shape. Gates stateti thai the
               buCgets (anct duties) were divided cturing :his tirne between Manafort and
               corey Lewandowski.
                                                                                                                                                            b6
               The de facto campaign \rCfO" Juring this time was                                                                                            b?A
                           woulcl track     =cts ex ndi funds                      and served as Lhe first                                                  b7c
               chec on such er: nses




               Gates stated ihat TrumP self-financecl his campai-gn prior to April-/May
               2016. Gates slated that prior to hi                t s arriva] on the
                                                                  Gates added that
                                                                  nafort e lained to Gates
               :ha
                                                                                                                                                            b6
                                                                                                                                                            blc




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   to bc distrilnrtcd outsidc.vour nglettcr.                                                                  FBI(19cv1278)-2325
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           on 1a/9/201,8,                                                         Special Counsel Prosecutor Andrew                                                   b6
                                                                                                                                                                      b7c
           Wei.ssmann i.nter:viewecl RfCHARD IIRTCKTT GATES fff                              at the offices of GATEST
           counsel. Present for the interview was GAIES| counsel-, Tom Green. GATES
           provicied Ltie followirig J-nfor:naLion:
                           was trying tc g et on 'j'RUMP's                                                        1
                                                                                                                      n                                had            b6
           set up a meeting between PAUL MANAFORT and                       et MANAFORT to                                                                            b7e
           sell FSY Group's services io the campaign.                           ceived the
           propo-sal, Lrut GATES dicl not . GATE,S ne\rer discus.sed u.sing front peopLe as
           part of the         GATES did not recall any further informati-on relateC tc
           PSY GT




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             On II/I4l2018, SA                         IA                                and Special Counsel
                                                                                   rtRTCKrt GATES ITI                                                               b6
             Prosecr:t-or Andt?e'^t Wei.-ssmann i nte::vi ewed Rf CHARI)                                                                                            b7c
             ielephonicalty. After being advised of the identities of the individual-s
             on t-he calI, GATES provi-deii t-he fol]owing infc.:rrnation:
                                                                                                                                                                    b6
                                                                                                                                                                    b7c
                                            a col-league of                     lt'o*l
                                                                                 f                                  was a
                                                GATES had met

             A long time ago,                     had said he was helPi                  with a project
             investigating a money laundering scheme'
             At one point in time,         ',\ras v/orking on a proiect thaL invofved                                                                               b5
                                                        I


             tracking black money in Afghanistan. This project involved a United                                                                                    b?c
             l,lalions AID corollary and was lrying to get support from the US government
                           nted to br           tI          in to hel     PAUL MANAFORT b    showi

          -l
                        brough        into a group with s                            eoplc i
                        asked GATES about it
                                                                                                                                                                    b6
             GATES Iast           sPoke to                                                                                                                          b7c

             * EoLl-owing the telephonic              interview,        GATES provided emai-Z colnnunications
             wJ-                  [atXachcd as a 1A].
             EX1

             GA'l'tjS r/ras read a Viber exchange between himself and MANA!'ORT in which
             GA1ES asks about MANAFORT's neeting wit.h "DJTrr. MANAFORT had told GATES
             lhat he was meeting with TRU-"IP to determine whether or not he couid aLtend
             inauguration events.



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   to bc dislrib$led,Jutsidc your agencv.
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                  On 11 /'7 /2OL8,                               SA                     FOA
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            Senior Assj-stant Special counsel (SASC) Jeannle F.hee, SASC Andrew
            Weissmann, and SASC Greg Andres interviewed Rick Gates at the Offj-ces of
            ihe Special Counsel-. GATES' :ounsel was not present for the interview.
            Gates provided |.he fo'l Inw j ng informal- jon:
            ** Gates rras r:hown an emai]. to br!:lania trurrq> on 1'2/3O/2OLG **

                Du::ing tl-re 2016 Presidential campaigrr, Dcnal-cl Trump's (Trump) Fr:iencls &
            !'ami-Ly list   (the list) f or p3ople attending canpai-gn eveirts was broKen
            down by Trump family member. Lj-sts uoul-d cone from each of Trump's
            children. Rhona Graff (Graif) handl-ed the l-ist from Trump himself . l4elania
            Trump woufd check and add nanes. If a name was associa:ed with a specifi-c
            person, it would be put under their name on the list.
               Graff vras the gatekeepe:: rf the l-ist. Pecple associated with the Trump
            farrily sornetimes added names.
                  The circle of people who uere abfe to aclC names to:he                      list     vtere
            imnediate family members, clrse friends of immedia
                                                                                                                                                                        b6
            staffers of j-mmediate family members. For examtr-al-e,                                                                                                     b7c
            adCed peop"Le lo the list. f n .some cases, Gates woulcl send the lists back
            to the kicls for review ancl tne kicjs would say they didntt add a parcicular
            ra:ne cn their own List.
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             On IL/1/2018' SA                 Special Counsel Prosecutor (SCP) Greg                                           b?c
             Andre.s and SCP Andrew Weissmann interviewecl RTCK GATES at the Offices of
             lhe Special Counsel-. GATEST gounsel was not present for Lhe interview.
             GATES providecl tire following              informal-ion:

             Great America
             Great Arneri-ca was a PAC run                  COREY LEI{A}IDOWSKI   Grear America had been
                                                                                                                              b6
                     with a            of                                                                                     b7A
                                                                                                                              b?c


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                               officee in the                      ; his DC offices were based out of the
                                     fices.                 hras

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            on 73./7120L8, SA                   Senior Financial fnvestigator                                                         b6
                                                                                                                                      b7c
                          Speci.al Coun.se.l Prosecutor (SCP) G::eg D Andre-s. SCP Andrew A
            Weissrcann, and DOJ Money Laundering and Asget Recovery Section Attorney
            Ann Brickley inLerviewecl RICK GATES llf at Lhe office of f-ire Special
            Counsel. GATES'counsel was not present for the interview. GATES provided
            the following information:
                                                                      pol-itics worked from PAUL MANAFcRT,
                                                                      tlkrainian oligarchs generated wealth                           b6
                                                                                                                                      b7A
            from the asset,s that they or^rned. Public of f icial-s were always on the take .                                         b7c
            This was consistent with GATES' experience in Ukraine.

            GATES believed    ThaL MICHAEL          wAS ONC O
            officia.Ls l./ho               'KANOSKY
                             seemed above-btard but OKANOSKY                                                                          b6
                                                                                                                                      b7c

            YANUKOVYCH r s             'rllannilyrr
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  to bc dist'ibrrted orrtside your agency.                                                                  FBI(19w1278)-2339
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             Richa rd IVi I I i               t                 ly identified, wa.s in
           FBI Special Agen t                                  Supervisory Special Agent
           and Special Counsel Prosecut-                                   s. Present                                           b6
           for Gates were Thomas Green,                                 f. Sidley                                               b?c
           Austin LLP. After being advised of the identities of the interviewing
           parties and the nature of :he interview, Gates provided the following
           i nformal-i.on:

              cates signed and acknowleCAed understanding the proffer agreement and
           was reminded that the interwiew was voluntary, but if he chose lo answer
           questions he needed to be lruthful in his respanses.
           0ther Crimes
                Gates vras asked about any other criminal offenses he had committed.

           Insider Trading
              The only insider trading and/or securiiies fraud offenses i-n wtri.cl'r
           Gates had been involved was related to ID Watchdog (IDW).
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                 Richard lrlil liam Gates IIf    reviously ident if ied' was i ntervi.ewed
                                                      Supervisory Special Agent                                          b6
             FBI Specj-a1 Agent                                                                                          b?c
             ancl Sertior Special Courrsel- At-torneys Andrew Weissmann and
             Andres. Present for Gates wSre Thomas Green,
                                                After being advised of the identities of the
             interviewing parlies and the nature of the interview, Gates provided the
             fol l owi ng .i nformat-i.on:
                 Senior Special Counsel- Atborney Greg Andres presented Gates r+ith .a copy
             c,f the original proffer ag ::eement and was initialed and dated by Andres,
                                                         Senior Special Uounsel Attorney                                 b6
             Gates, and Gates' attorney                                                                                  b7c
             Andrew !'leissmann then advisel Gates of lhe terms and conditions regard 1nc
             prcviding informat.ion to the government under the signed proffer
             agreement. Irieissmann adv:-sed that under the terms of the agreement GaLes
             has agreed to provide information to the government, and to respond to
             questions truthfully and completeJ-y. Fleissmann advised that only being 9C
             percent truthful wou]d vi olate the terms of the agreement and that it was
             only in Gates, interest to be 100 percent truthful. I{eissmann advised Lhat
             should the government and GaLes not proceed with a cooperation agreement
             anC be prosecuted, under the terms of the proffer agreement no statement
             maCe l:y Gates during the meeting coulcl be r-rsecl against him in the
             government's case-in-chief aE trial excep! the government may use any
             staternent made or i-nformation provided by Gates in a prosecution for false
             statements, perjury, or obstruction of justice, premised on statements ot
             actj-ons during Lhe meeting. Yoreover, the gcvernment may also use any such
             sLatement or information ar, sentencing in support of an argument that
             Gates failecl ro provicle truti'rfu1 or complete information clr-rring the
             meeting. The government may nake oerivati-ve use of any statements made or
             oLher ilfornraLlon prcvi-tled by caLes during Llte nteeLing. Gates advlsed LhaL
             he uncierstood the terms and agreeo to the terms.
             Deripaska Lawsuit in New Yori<

                  In January 2018, Manafo:t tolcl Gales that Cleg Deripaska sued Manafort
             anC Gates in New York state:orrrt       in an effort to demonsfr:ate that he was
             willing to help the governmentr s investigation by being a witness against
             l-irenr in exclranc;e for being granl-ecl a t'isa. Gat-es believed l-lrat- l-his was




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                                                                      Tntelligence Analysl                                                                        b6
                 On O2/15/2OI9 Special Agent                                                                                                                      b?c
                                   Senior Assistant Special Counsels Greg Andres, Jeannie
                 Rl:ee, ald Ancl:.ew Weissnran interviewed RICIIARD GATES (GATES) aL tlre Speciol
                 Counsel,'s Of f ice. Present for the lnterview vras GATES's counse.I , Totn
                 Greene. After being advised cf the identily of the interviewing AgenL and
                 ihe nature of the interv:-el, GATES provided the following information:
                 GATES has never: seen FD-302s written                  re.l,a:ed ta his i n:ervi,ews vrith the
                 Special        Counsclts         Cffice.

                 Pol]-j-ng Data Sent to KONSTATiITIN KILIMNIK

                 tvtANAt'LR'-t ct irected GA'I'ES to s3ncl internal polJ-ing data from the D0NALIJ J.
                 TRUMP CAMPAIGI'I to I(OI{STANTIN I{TLIMNII{ (KILIMNII() , and GATES did so. The
                 interna] polll-ng data vras provicleci by TONY FABRIZIO (FABRIZIO). GATES
                 ut-i.1.i zecj IdHATSAPP to forr.ua::d the I't
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                                                               Li.ne" i.nterna,l. ollin clata to                                                             b7A
                 KILIM\: I K                                                                                                                                 b7c




                 G.A.?ES understood i(ILIMI'lIK r,ro:r.l-cl send the internal, olli   clata on to
                 Ukrainian oligarchs     at  I'IANAFfRT's     recluest                                                                                            b6
                                                                                                                                                                  b7c
                            MANAr'ORT wanted r.o show Ul:rainian ol garc s:         t      was doing
                  wc    rs with the TRUIqP Camcaign in securj-ng the nomj-tatj-on. OLEG
                 )ERIPASKA was also in the mig, GATES recalled, however, that the leiter to
                 DBRIPASI1A was rel-atei to MANAFCRT's and DIRIPASKA's legal dispute. GATES
                 cloes not specifical-ly l.:now if MAI'IAFORT sent internaL polling clata to
                 )BR]trASiiA.
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                                                               ema or        L)       ]-   was         ne     n
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                 battl-e round states
                                                   GATES recal-led there would be a l-ist        of five or six
                 state.s per poi. I



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                    RICHARD GATES IIT (GATES) was proffered at the Offjce of the Special
             Counsel Idashi to n,     D.C.   Present for the Proffer were FBl             cial ent
                                  DOJ Senior Financial fnves{-igator                            and b6
             spec al- Counsel- At torney Andrew weissmann. Also present was GATES'                  b7c
             attorney Tom Green with the law firrn Sidley           Austin    LLP. After being
             advised of the identity of tr-le interviewing Agent and Lhe nature of the
             prof f e]:, GATES provi decj the f ol Low j ng i nf ornat-i on :
                    GATES initiallydigcueged the hiccup of eigning the plea acreement over
             il-re past ferv clays. GATES explained the prior five days have beerr ver v
                                                    He spoke at lenqth Lo          about                                                           b6
             difficult   for him and hls ianily.                                                                                                   b7c
             :he ramifications of pleadinJ guilty to the charged     offenses.

                Over the past several days, GATES spoke to a number of other
                                                                                                                                      b6
             individual-s about vthether :o sign the plea agreement. He first spoke to                                                b7c
                                      who GATES considered a mentor' GATES asked
             for aciwice about what to do.

                  GATES also spoke to pAUl, I4ANAFaRT (MANAFORT) three iimes. He spoke tc
             I'IANAFCRT on the phone. On T:esday February 20, 203'8, GATES tofd MA|IAFORT
             he was not going f onr'ard wit:r the plea agreement. They also spoke about
             getting their lawyers together to talk; however, their J-awyers never spoke
             to each other. GATES al-so asi:ed MANAFORT about tapping into the l,egaI
             Defense Fund resources to help pay for some of his mounting legal
             expenses. MANAFORT tol-d him to apply for the fundrng.
                    GATES also had two cails  uit.h MANAFORT on Wednesday February 21, 2078,
             both concerning     the Legal- Def ense Fund. GATES tol-d l'iAlrlAFORT the Legal
             Defense Fund wou]d receirze his application by the end of the u'eek' GATES
             was hc,pefr_rl- to get money fron the funcl beEore signing :he plea
             agreement. To date, G/rTES had not submitted the application. GA?ES alsc
             conLer':ded tlie:e was noLhing said beLween he and MANAEORT abouL GA?ES rloL
             cocperating with lhe Speclal Counsel because GATES coul-cl not afford
             it. MAIiAFORT did not know GATES intended to sign the plea agreemenc.




     hrvesligalion on         02/22/2AIe,,, Washington' District Of CoIumbia, United States {In Perscn}
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    to be distriltutcd orrlsidc 1'out agctrc.r'.
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            on 02 22 20r9 Special Agen                          Intelligence Anafysl                                                                 b?e
                              Senior Assistanl Special Counsel-s Greg Andres and Andrew
            We ]-ssnann inte rviewecj RICHARD GATES (GATES) via telephone. GATES's counsel
            THOMAS GREEN TGREEN) h/as not present on the cafl-, holever, the attached
            emai.l- comnunication indicaleC Green appro',red the direci contact. Afler
            being advised of the ictentity of the interviewing Special Agent and the
            nature of the j-ntervievr, GATSS provided the fol-1owj-ng inforr,atlon:
            ISASC Weissmann adnronished GATES that    any questions \dere not intended to
            reveaL any communications   rviLh GREEN or   anyone from GRIEN's office.
            Weissrnann furlher adrronished GATES to not di-scuss any attorney-clrent
            privilegecl information of any ki-nc clr-rring the interview; which incluclecl
            any inforrnation from which GATESTs sol-e knowledge came through GRAEN or
            GREEN's olfrce . l
                                                                                                                                                     b6
             GATES was admonlsheci to                not discuss colnmunications beiween GATES and                                                   b7c


            When asl.:ed if               since it had become publicly   knor,vn that   ihe U.S. Government
            was alleging that
                                              hai GATES had any conversations, excluding
            privilegecl , with anyone regarding Llie sul:sLance of Lhe suspecLed
            violation, rnc-Ludi the topics of                                                                                                        b6
                                                                                                                                                     b7A
                                                                                                                                                     b7c




            GAIES recalleEl             alertecl GATES Lc Llre al}egaLj-on cliscussed                                                                b6
                                                                                                                                                     b7c
            above, as we1l, but their conmunicatlon had no substance.
            GATES was not contacted by ,              nor did he have an substanti ve discussions
            re arcln             the all-e gation witn,                               or anyone in                                                   b6
                                                                                                                                                     b7c
                                           GATES ciid not r:eceive ary message.s from f-hese people.




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   lnr,esligalion on      02/22/28'L9 .,, Washington, District Of Columbla, Un:ted States {Phone)                                                   b6
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  to ltc dislribulcd oulsidc l'ost agenc,\.                                                                  FBI(19w1278)-2406
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                Richard William Gates IfI         ous identified    was intervier,led by FBI
            Special Agents                    and                        rvlsor       cial
                                                                                                                 b6
            Agent                Assistanb Special Agenl- in Charge                                              b7c
            and Special Counse.l- Prosecutcrs Andrevt Iileissmann, Greg Andres and Brian
            Richardson. Present during Ehe interviebJ was counsel for Gates, Tom Green
            from Sidley Auslin LLP. After being advised of the identities of the
            j.nte;v|ewing partj.es and the nature of lhe i"ntervj-ew, Gat-es provi-ded the
            follouing information :
               Gates vras aclvised that the interview was v'cluntary and the terms of his
            plea agreement, any responses he provided must truthful.
            Communications Accounts

            Email

              Gates provided the following email accounts as those used by hi-m
            currently, or in the past:


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                   Richard WilLiam Gates III was interviewed by Supervisory Spec|al- Agent
             ( SSA)                                ASAC    Senior Special Counsel                                                     b6
                                                            Ccunsel- Aitorney Greq An'Jres.                                           b7c
             Attorney Andrew Weissmann anl Senior   Special
             After bei-ng advised of the iJentities oi :he interlriewing parties and the
             rature of the intervi.eu, Gat:s prc,vided the following information:

             Bank Cctnt-acrt-s
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                 cates .stated that                    l"nal
                                                        and                     ad
                                                                                                                                      b7c
             relat ionship s witl-r nrarry banks                 was ano--l-ier contar-t at tlre
             banks tied to                     ?auI Manalort's (Gates didn't recal1 the
             naine) , According to Gates, busine.ss transactions    went ihrough

                                                                                                                                     b6
                   Gates st,al-,ecl that                          hac] re I ati on.ships wi th                                       b'7c

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                                                                                                 He was rrot aware cf                b?c
                   Gates vlas asl':ed about
                             rnisleadlng documenLs )r LrMP P&Ls.
                                                                                                                                     b6
                                                                                       entered the room. )                           b?c
             {At this Pornt Forensic Accountant
             Canpaign:

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             sta                   tRe nce Pr             us was aware o



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              Richarcl It]i I1i                     usl y iclent-1f iecl, wa.s i,nterviewed
          FBI Special Agen      I                   Supervisory Special Age                                                                      b6
          arrcl Special Counsel Prosecul, ots Ar:clrevl Inleissrrann ancl        Arrdres. PrescrrL                                               b7c
          for Gates were I'homas Green,                                            of Sidl-ey
          Austin LLP. After being advised of the identities oi :he interviewing
          parties and the nature of :he interrriew, Gates provided the following
           i.nforrnat i on:

             G.:tes signed and .acknowleCaed understsncting the p:offer agreemeni and
          was remindecl that the inte::view was vr:1uniary, but if he cl-rose to answer
          questions he needed to be tr:lthful  in hi.s respcnses.

          Congressman Dana Rohrabacher

              Gates vras reminded abou: the memorandum from llanafort to "SL" dated
          l4,arch 23, 2013 with the subj=ct fine, "US Ccnsultants Activity - Weekly
          UpCatett which was shown to him in a previous proffer.    Gates was remindec
          ihat the metadata from this nemoranclum showecl that Gates was the authcr cf
          rhe dccument. The rel-evani cortion of the memcranclum read as
          follows:

             "Meetingt with Congressnan Dana Rohrabacher {Chairman, House
          Subcommittee on Europe, Eurasia and Emerging Threats).

              The meeting with Cong Rotrrabactrer went we.Ll . He and I are building a
          pJ.an to create a framework to promote positive i-nteractions between the
          Govt of tJkraine and Rohral:achers' [si-c] Subconuni-ttee.

             Cong Rohrabacher is open mlnded on Ukraine. He is prepared to visit
          Ukr to gain more understanding, He j.s opposed to sanctions and said he
          wouJ-d not let the Sr:bconuntitee on Eurasia entertain any proposed
          legisJ.ation regarding sanctions for Ukraine.It
                 Gates vras asked why he proviously said the meeting between Manafort,
                    and Rohraoacher in lular':ti 2013 d1d noL re]-ale Lo Ukraine.                                                         b6
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  to be dislribulcd oulsidc 1 our agenc"r .                                                         FBI(19cv1278)-2427
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                                           was interwiewed by Assistant Special Agent in
                                     wilLiam
            Charge                         and Spe ciaL Counsel Senior Attorne ys Andrew                                          b6
            Weissmann and Greg Andres.  Ga tes' atLorney,               of Sldley Austin                                          b7c
            LLP, was present. After beinE advised of ihe a dent ty of the j-nlerviewers
            and the nature of the intervi €wr Gates provided the folfowing information:

               Gates slated that he has aad his                         present mobile tel                sl-nce
            December 2017. He gave his                                                ephone to                   Hi.s phone        b6
                                                                                                                                    b7c
            prior to that was providcd                        t^




            August 2O16 Meetl-ng at the Havana Club:
                Gates stated that he hadn' t previous ly read the 6/19/2AI7 Washington
            post article, which contalnel a statemenl- from Konstan:in Kilj-mniI:
            regar:ding a meeting held i-n \ew Yor:k on 8/2/2{}16. Gates staterj t-haf,
            following the B/2/2016 meei,ing (which was helci at l'lers Yorkt s liatrana Club),
            Gates .spoke to Paul Manafort regarding a sul:secluent Politico storv about
            it. The author of the Poil:l:o article, Kenneth Vogel, had emai.led a list
            oi questions lo Manafort. I{anafort forwarded these questions to Gates, who
            answered "no" to all the questions. Gates aCmitted that he lied to Vogel
            with these responses. He had been assured no one would find out about this
            meeting- Gates statei that Jared Kushner became angry following the
            pol-itlco article, unsut:e as to why 116t.gort woulcl have such a meeting.
                            clalms he can't recall manj/ conversations with Manafort
                  Whi le Gate.s
            re.gariing the 8/ 2/ 2A16 mee*'-ing, he di-d recall that Manafort asked him if
            he Gates had received an te1           one cafls about the meeti
                                                                                                                                   b5
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                    Gates   d not recal] whether he or Manafort leached out to
            Kilimcik once news articies rf the meeting surfaced.
               Gates noted Lhat the 6/L9/2071 Washington Post articfe quoted KiIi:nnik-
            rhat he and Manafort spoke merely about unpaid bills, a qeneral update on
            the political .sitrlation in Ukraine, ancl general news, Kilimnik insi.sted
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           on or around 3/L2/201.8, Special Aqent                          a
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           and Spec:i ai Cot:nse.l Prosect:trr Greg A ncl::es nt etavt ewe d RICHARI] NRTCK'I
           GATES IJI. i\lso         nt for oortions of the interwiew was Speci-al Agent
                                    d Forensi-c AccounLa                        A.fi-er being
           advised of the identity of tne intervj"eving team and the nature of ihe
           interview, GATES provicled ihe fofl"ovring infcrmaLion:
           Persona] Baskerround

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                    Ri                           s interviewed by Assistant special- Agent
              in Cha rce                         and Special Counsef Senior Attorney Greg                                                                          b6
                                                                                                                                                                   b7c
              Andres After be 1ng a vised cf the identiiy of the intervi ewing Agent anci
              .-he nature of the intervj-eru, Gates provided the foll-owi-ng information:

              Overseas TraveL:
              (NOTE: 6ates Provl.ded tftree expLred passPorts of tr].s for revLew. )

                 Gates stated Lhat he had trave-ll-ecl to Germany on multi-ple occas.ions,
              often transiting through the country. He did meet on aL least one occasicn
              with representatives of ukraine's opposition Bloc in Germany.
                 Gates recal.lerJ two trips he macie f o Russia to meet wilh re resenfatives
              of Ol   Deri skat s Pericles Fund. The two r       esentat ives                                                                                    b6
                                                                                                                                                                 b7A
                                                                                                                                                                 b7c

                 Gates stated that his tlave.l- to Zurich may harre been a tri-p to the
              World Economic Forum in Da'ros    t which he            sk in 2001. Ic
                                                                                                                                                                    b6
              also have been a meet jng wi.t.r                                                                                                                      b7c

              Ukraine:
                 Gbtes stated that he a nd \{anafort had a number of ukralnian
                    sters ," to include Rinat Akhmetov,
                       Among the ite                  d on was broker n,E a truce between                                                                            b6
                                                                                                                                                                     b?c
              ?iktor Yanukovich and                    for the 2A20 eleeLions in the
              country.
                    Gates       stated that in the 2010 elections in Ukraine, Manafort had
              bro        ht       election cbs    rs and had    viced olli    data ta                                                                                b6
                                                                                                                                                                     b?c



                   Serh j-y                                                                t who had conducted business                                             b6
              clea.l s wi th                                                                                                                                        b?c

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               R-ehai:d Wi i: iam Gat e.s .i I -i .        ntifi          interviewecl b v
                                                                                         Senior                                     b6
            Superv:-sory Special Agent       (SSA           ASTrC
                                                                                                                                    b7c
            Spec:a= Counoel ALLolney Andrew Weissmann and Senior $peciai Ccunsel ALlorney C.req
            Andres, Aft-er bej.ng advised of uhe idenLiLies oi l-he inLerviewing parties and the
            laLure of Lhe "!lLervlew, GaLes p-rcvrdecl Lhe iollouilg irriormaLion:

            t?elicies           f'und

                ihe f-rsL Lime GilLes Lrave:ej'L.o Rus$ia r/,as jn laLe 20C7 or eariy 20C8. GaLe$
            r-raveleC from Lhe U.S. l-o Moscow and stayed Lhere r L'L                   days. At
            Paul Manafoll t s di recl ion, Gales 'r-rave j ed t'o neel                                       and ts-
            l-n'rest enrpioyees in Moscow regardinq Lhe Pericl-es invesLment. This meet-ng rvas                                b6
                                            Oieg lle:lpa$ka a$d Mana"iorL dec:ded l,o creale and fund                          b7A
            s chedu-ed
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            Pe: i c.i es .                was respon.s jh,l.e for organ 'z.i ng 1og.i .sf i.cs r:el al ed f.o Cat'esl
            rnee : ng v, .i.t,h B- I nves l. .
                        1".                    Howeve.::,               cJ:cl nol at tenci l.he m*el. i.nq. Manaio::t
            pu::pose{u iiy exciude                       f::onr l-he  meeling   beear-rse                s not aware oi
            Lhe amoun L o.f money which wac            invesLed      -n Lhe   Dericiec,   and  ManaforL    want-ed a wa- j
            beLween ir is poiiLica i work porLfoiio               arrd hj-s f inarrc:a1 work porLfoiio

                    Gales meL wiLh the io-i-iow:n       ts ln\.esl   e         es aL Lhei-r Moscow ofiice:
                                                                                Ihe purpose of l.he meel--ng \ras Lo
               scuss the Pericies invesLment st ral-egy                  I'he follcw:-ng i-nvesLmenL sectors were
             cons-dered: {i ) t,e lecom; {2J reei esLaLe                 rocus on Odessa; (3) pharmaceuL-ica1s;
             (4) agriculture; and (5) media -ornpanies
                                                                                                                               b6
               App:oximately two i-o three rnonlh later, a second meeLing was held in l4oscow                                   b?A
            which Gal-es at-t.enCecl . GaLe.s speculal-ed t-hat- he Lsaveied from Ukra:ne l-o Moscow                            b7c
            fo: l:h:s meet.ing. The prtrpose:rf lhis neet-.-ng vras lo finalize l:heir rnwestment
            slraLegy, pick Lhe L:.op f ive invas!*menL Largels and agree on lunCing ior
            Perictes.   1'he sarne PeoPle f rom B                          aLtended Lhe frrsL      meeting atLended
            ihis meeling.    GaLes cJid nol meet-                        du ringLhle Lr-ip.

               AL approxinat,eiy Lhe end of 20C8. I4anaforl djrecled Gates Lo allerld a t.hird
            meelrng vrith ts .!nvesL r-epresentstives jn floscow. At l-his meeting, Cates was
            advised by ts irrvest- lhal Lhe l,erciies was being pul on hoid and LhaL no cap:t-a.
            cont:j,bullons were going to be nade by Der:paska. Gates assurfled Manaforl had
            ai:eady heard lhis {"rom Derlpaska.
             llkla- ne




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                  Richard Gates, was interviewe d at 395 E Street S!V, Washington, D.C.
              Pr:esent for Lhe inter:vier,r were SA                            Senior A.ssi.st-ant                                              b6
                 cial Counsel (SASC Jeannie Rhee, SASC Andrew         Weissnann, IA                                                             b7c
                           and SSA                  Af l-er being advised of the off (:.l- al
              identities of the intervieling parties and the nalure o f the interview,
              Gates provided the foLloruing information:

                 Gates first ioinec the Trump campaign ieam on or about March 26, 2A76-
              Gates sai.d hi..s assignment rvas jn Nor:t-h Dakota'

                  Roger Stone helped bring PauL Manafort onto the Trump car'paign team-
              SLone specialized.in media sLrat-egy, while ManaforL was t-lre "nan tltt Llle
              grcund " focusi   on thi s like    i-maries. Manafort did not knor/ 'j'r
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              that we]                                                                                                                                      b7A
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                   Gates vlas asked to P
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    luvestigalion on        03/21/2A!B n1 (In Persor)
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                                                  FEDERAL BUREAU OF INVESTIGATION

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                 Ri                     III was interviewed bY FBI
                                         am Gates                      rv]-so  Special
                                                                                          b6
                                  Assistant Special Agent in Charge                       b7c
                          and Se nior Speciaf Counsel Attorneys Andrew Weissmann and Greg
             Andres. After being advlsed 3f the offi-cial ldentities of the interviewing
             parties and the nature of rhe interview, Gates provided the following
             information:
                              indi-ca
                              on the                        prol ect.                                                                         b6
                                                                                                                                              b?c




                In 201-4, Davis Manafort Partners (DMP) started vrinding down, havi
             unsucces s fuI I S  t to assist       ition Bl-ock efforls in Ukraine.



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                  Throughout their dealings
             invesi-ors l-hroughou.t Europe.
                                                           ri           ked Gates to seek addi-tional
                                                                 sr u t ilized irj-s conLacLs in Europe, as
             well- as the lure of tax credits for fitm investments, to find investors in
                                                                                         b7c
                                                                                                                                          b6


             Ukraine and Great Britain.
                Gates underslood that         had addit                              a   proj ects he was                              tb6
                                                                                          a forme                                         b7c
             familiar ujth. He dicj at- soms point meet-

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              on 03/78/20L8, Richard GAIE$ was Lntervlewed, which !'rag docunented j-n
           an tD-302 Serial 445 of      ioned Lnvest   tion,                                                                                                               b6
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                                                    F'EDERAL BUREAU OF INVESTIGATION


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                Richard Wil]-iam Gates IIf was interviewed by FBI Supervisory Special Age
             nt              and Senior Special Counsel Attorneys Greg Andres. After                                                                 b6
             being advised of the official identities of the interviewing parties and                                                                blc
             ;he nature of the interviel, Gates provided the foLLowing informatj-on:
                                                                                                                                                     b6
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                  Gates stated that Paui Manafort had


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              (U) on 04/1"7 /2018 .SpeciaL Ag=nts                                                                                                       b6
              and Assistant Special Counsels Greg Andres and Aaron Zelinksy interviewed                                                                 b7c
              RICHAF.D GATES (GATES) at- l-he Special Counsel's Office. After being advised
              of the identity of the interyj-ewing agent and the nalure of the interview,
              GATES prorrided the folloruing information:

              (U) GATES was shown a photograph of Theodore Malloch. GATES did not
              believe he knew the person or had met the perscn in lhe f,ONALD J. TRUMP
              (TRUMp) camp,:ign or .at TRtn4p campaign headquartere. GATES recognized the
              pe!-son in the ph'ctograpl-r f::on recent apPeal:ance.s in tl-re news'

              (u) GA'I'gS  recaflecl BUB MCLAUGHL1N 1ph), a ta11 Congressman from the State
              of Geo fa . GATEST recoliection involved JEROME CORSI (CORSI). GATES
                                                                Theyr ms1 related to CPAC and                                                           b6
                                                    of      which GATES said he could find by                                                           b7c
              l"lCLAUGHl,Ill was cn a subcomrnittee    CPAC
              lookin at open sources related to CORSf.
                                             They had no c.liscussions related      to lhe hack of DNC emails
              or Wlki.l-eaks.
              (U) GATES was sure there was an opposit.ion document relat.ed to TRUMP but
              did not recaf L any specifics. He cii-d not recal-1 an1'epg,                                                                              b6
                      talking about an opposition document. GATES did not think it was a                                                                b?A
                                                                                                                                                        b7c
              single codified clocument, but mor€ a col.lection of opposition research.
              The cliscussions would have been about TRUI'IP nceding to worry about this or
              :hat as opposed to an exacl locrment.
              (U) They heard Iots of things about DllC oppcsltion research, but agaj-n nct
              a document. It was informa:i3n held by specific people like                                                                               b6
                                                                                                                                                        blc

              ({r) The TRIIMP campaign dicl nrt receive a lot of assi..stance fr:om the RNC
              until- TRUI{P became Lhe nominee. Beforc thent they experlenced opposition
              frcrrr boLh Lhe left atrd the riElrL.




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                                             FEI}ERAL BUREAU OF INVESTIGATION

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                               was interviewed at 395 E Street SW, Washington, D.c,
                  RICHARD GATES,
          A.l so presentin the intervi.ew we::e SSA             Seni.o:: Assi..stant                                                 b6
                                                               Special Counsel (ASC)                                                 b7c
          Special Counsel   (SASC) Greg  Andres, and Assistant
          Aaron Zelinsky. Afl-er being advised of Lire official ident-iLj-es of bl:e
          intervi-ewing parties and the nature of the interview, GATES provided the
          following information :
                                                                                                                                     b6
                GATES uas shown a photograph (enclosed) cf                                                                           b7A
                   nd askecl if he recognized the person shown. GATES advised he clid                                                b?c
          not reco nize the individual in the    UL        GATES was Lhen asked if




                                                               GATES said it was not
                       people .seek!-ng neet-i-ngs to conl-act RHONA GRAFF rJirectly. Most.
          r-lrcorTllrLorr for
          often, GRAFF would foraard these requests to GATES
             GATES advised JARED KUSHNER anci ,JASON GREENBLATT took the lead on
          campaign matters rel-ated to the .Iewish community and wanted GATES to                                        set
          up a Jewish coalition to support the carnpaign. GATES said KUSHNER
          mentioned Israelis quite oitg                                 call       h earing the name WALID
                                                                                    d numerous private                               b6
          PHARES. GATES further advlsel
                                                                                                                                     b?c
          conversations with DCNALD TRJMP and KUSHNER
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              Rictrard WilJ.iam Gates III was interviewed by FBI Supervisory Speciaf                                                 Ue
           Agen                and Senior Special Counsel Attorney Greg Andres. After                                                b1c
           being      S    r)  he official identities of the i-nterviewing parti-es and
           Ehe nature of the interview, Gates provided the fol--l-owing informatj-on:



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           tfaS     orme         asave     cl-e             I   to invest in                                                                   b6
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                 Richard Witliarn Gates III was interviewed by Assistant Special Agent in
             c                              and Special Counsef Attorney Greg Andres.     b6
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             After being adwised of the j-Centity of the interviewers and the nature of
             'uhe interview, Gates provlded the following information:

             Ledgers/Accounts :
                 Gates stat        at he mel              on one oc casion at Paul                                 b6
             lulanafcrt' s home - Ga1- e.q bel i A                 was on lhe companyt s                           b7c
             health care plan, possibJ-y listed as an employee.

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             Work with Poroshenko:
             @thedepartureofViktorYanukovychfromUkraine,
             there was a chaotic interval (from lrlarch 2014 until- December 2014) in
             'rhich Manafor:t was ret-ained sy Petro Poroshenko. The two eventr:a.1. 1y split
             over a financial- dispute.


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               Richard William Gates III was interviewed b y Assistant Special Agent i"n
           Charge                            cial Counsel Attorne y Greg Andres, and                                                                   b6
                                                                                                                                                       b7c
            Forensic Accountant                  After being advised of the iclentity
           of the interviewers and the naturre of the intervievi,                          Gates proviclecl the
           following information :

                  GaLes s La LecJ LiraL Paui l,lanaforL clirri-deci up funds anrongsL
                                These          fiscal moves .vere typically      Cone by er-ther Gates or
                                                                                                                                                 b6
                                                                                                                                                 b?c
                                                                    that, upon receivin,g
           hank stalements, worl rJ prepare     nan- a           nt s to jrrstify money
           movements. Gates and Manafort worked with           in 2009 *-o 201-0, though no
           engcrgenrerrL leILer was siglred wiLir thaL cotnpany.      lracl acc<.rurrLs irr SL.
           Vincent & Grenadines.

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              Gates stated that foliowing the election of Viktor Yanukovych in
           Ukraine, Davis Manafort Partners (DMP) enf,ered into a $1 million per
           qua]:l-er consult.i ng                        t-rat j.on. Thi s agreemeni wa.s
           forwarded to DMP by                           for Sergey Lyovochkin who is                                                                          b6
                                                                                                                                                               b7c
           basecl in Cyprus.

               In their dealings with Ukrainian cl-j-ents in creating new contracLs,
           I'lanafort vrould i-nltially for:^lard the terms cf the contract to Gates. Gates
           would draft a contract, whicn would then be sent to Konstantin Kirimnj-k
           for transl-atj-on prlor to being sent to the cther party.

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                 Ri                                    was interviewed by Assistant Special Agent in
                                                                                                                               b6
             Charge                                    and Special Counsel Attorneys Greg Andres and                           b?c
             Brandon Van Grack. After b e l-n g advised of the identity of the interviewers
             anC the nature of the interview, Gates provj,ded the lollowing lnformation:

                Throughout the spring oa 2016, the Trump carpalgn sought surrogates tc
             speak on its behalf on variols topics. By mid-April 2016 principai among
             ihese were Jef f Sessions, larry Kudlow, Rudo.l-ph Gj-uliani, and Mike Flynn.
             Gates described Flynn as the "chief surrogate" of Trump who travel-ed with
             :he candidate often, incl-uding to several ral.Lies in the South.

                 Gates could not recafl anythinq aboul a 6/3O/2A16 meeting between Paul
             l'lanafcrt and Flynn i-n Nev 'Iork. Gates first met llypn in person on the
                   ign plane. Gates had previously email-ed and tefephoned Flynn and                                           b6
                                                                                                                               b7c
                  regarcling campaign logistics.
                 cates corrl,d not recal. I a speci.f i.c telephcne cal.l ruirh Fl,ynn on 6/21
             /2016. Cates was shown an emaj-l dated 6/23/2018 betwecn Flynn and                                                b6
                   arrangirlg a Lelephone call-. caLes opined Lhe calf may ttave Lakert                                        blc
             pl-ace to coordinate logi.stics. Gates recalled that Flynn had discusseC
             contacting consultants on matters such as opposition research' and sought
             :o identify additionaf surro;ates. He was unsure whether FJ-ynn discussed
             soci-a-l nredi a matte:rs.

                Upon being shown a one paEe document titled "The tledlaMeter," d
             business proposal orr social ledj-a, Gal-es sLated lre "vaguely" recall-ed tlre
             document, bul addecl that erreryone was tryinE to bring cheir own contacts
             anC proposals to the campaign. Gates stated that Brad Parscales handled
             the bulk of social media work for the campaign. Gates stated he drd not
             recall meet-jng w,it"h a conrpany at the reqr-rest of Flyvlpl .
                Gates iras present on the campaign plane when Flynn spoke to ?rump
             regarcij-ng lris views on Llre weakness of Lhe U.S. j-ntelligence agencies.
             GaLes belierred !'lynn was persona-L1y brtter for having been fired from hi-s



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                 Ri                         Gates III   wa   s interviewed by Assistant Special Agent in
              Charg                                          d Special- Counsel Attorney Greg Andres.                                                   b6
                                                                                                                                                        b7c
              After being adwised of the iCentity of the inte::rriewers and the nature of
              the interview, Gates provideC the fol-l"owleg information:
              July 2O14 Interview:
                  Gates stated that he r,/as sreviously incerviewed by ihe FBI in July
              ?01 4 . At the l- i me, lhe IL S. ilO,T wes work i .'rg wi lh lll:ra i n-i an artf hori t'i r.s
              examining the movenrent of assets L'y Viktor Yanul<ovyq5. Gates was
              interviewed f irst, folLor'reci cy Paul Manafor-t. Gates statecl tl-rat l-re
              provioed the interviewers with narnes oI acccunts and i:tdividual-s he dealt
              with in Ukraine.
              DMP:
              Tates       reitera ted that the princ .I al-s of Davis Manafort Partners (DMP)                                                         b6
              were                and PauI Manafort.                         hcld no equity in                                                        b?A
              '.-lre firm Gates descr  j-bed lrirrself as drl errployee of DMP. He received W2s                                                       b?c
              from the company during his Lime there.

              Ukra:Lne:
                             was DMP's p rl-n3                l- when lhe    first entered into business in                                            b6
              Ukraine. EventuaJ-Iy, when                                           lt{anafort remained to                                              b?c
              hanclle Ukrainian matters.

                 Gates stated that the Parfy of Regions was a successful political party
              in Ukraine for a five year stretch. Sergey L       chkin Chie f of Staff for
              Yanukovych, was among the party's leaders.                    was considered
              a ,Fr2t' in the party handiing naticnvride campaigns.                                                                                   b6
                                                                                                                                                      b7C
                 Gates met                              a few times while worl:i-ng on the campaign of
                                     Gates met I                        a few times as well-.

                 Gates stated that Kilimnil< worked in the Moscow office of the
              International Repubfican InsLltute ifRIi, whose stated goal was to foster
              democracy as a NGO which enjcyed bi--partisan support. John McCain was a
              Chairman of the fRf.

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                 Case 1:19-cv-11861-MKV-JW Document 186-3 Filed 03/20/23 Page 52 of 130
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                 RL                       was interviewed by Assistant Special Agent in
                                                                                                                                           b6
            Charg                          After being adwised of the identity of bhe                                                      b?c
            interviewer and the nature of  the interview, Gates provided the foll owing
            information:
                 Gates stated that Donald TrumP 'hated' Nikki Hale              Gates stated that
                                                                                                                                           b6
            it   uras known      Tr ump's alvisors tha                                                                                     b?c


                Vice President Mike Pence has al} the iies in Congress amongst the
            administration. Gates poi-nreC out that President Truntp and Senator MiLch
            l.4cconnell hated each other.

               Gates believes that Treasury Secretary Steve Mnuchin, as well- as
            several other cabinet members, mere.ly accepted their roles to obtain a
            divestment tax credit for ihelr portfolios '
                 Gates       stated that he had Cj-scussed two cleals wi-th Timur Sapir in the
            past.

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                                                FEDERAL BUREAU OF INVESTIGATION

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                 Ri    Wil].iam Gates III vras interviewed by Assistant Special Agent in
           Charg e                        and Special Counsel- Attorney Greg Andres.                                                b6
                                                                                                                                    b?c
           After being adwised of the iCentity of the interviewers and the nature of
           the intervi-ew, Gates provideC the following information:
           Contacts
                 Since last be ing intervie'v'led, Gates s                             la
                                                                                                                 e ti-mes
            onr:e aJ one anrJ twir:e in the pre.sr"nce of
                        Gates has also haC one conversation with                                                                    b6
                                            ancl two conwersations w t                      Magg      e Habernran.                  b7c




                 T,ast week, Gate.s exchangeC a text message wjt-h Brad Pa:rscale over bej.ng
           named in     a lawsuit filed by the Democratic National Committee (DNc).
           PIC
                                                                                                                                    b6
                                            and WiJ.ey-Rein were the 1ega1 representatives for the                                  b7c
           Presidential Inauguration Conmittee .
           Antses:
           ---Ges             identif ied Antes as a Bahamian entity tied to Paul Manafort.




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              Richard WilLiam Gates III was interviewed by Assistant Special Agent in
           Charge                       and Special Counsel Attorney Greg Andres.                                                                                                              b6
           After being adwised of the iCentity of the intervj-ewers and the nature of                                                                                                          b7c
           the interview, Gates provideC the following information:
                                                                                                                                                                                               b6
                                                                                                          The       ob was                 ious I             held                             b7c
                                     Gates stated that


              Gates stated that                                                                                                                   That                                         b6
           job, he believed, was done by                                                if needed.                                                                                             b7c




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  to be dislribrrt€d ordside your aglerry.                                                                                                           FBI(19cv1278)-2490
                Case 1:19-cv-11861-MKV-JW Document 186-3 Filed 03/20/23 Page 55 of 130
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           On Wednesday, June 13, 2A18, Richard Gates                                                                   at the Office of the
           Special Counsel
                                                  Also present were Senior Assistant
           Special Counsel Greg D. Andres      and Gatesr aLtorney, Tqrm Green. The                                                                                      b6
                                                                                                                                                                         b?c
           follol'ring informati-on htas furnished:
           Since his last meeti                           with [he office of the                               ecial Counsel, Gates has
           been in contact with
           Gates coufd not recall the name and./or ever meeting

           Gates acknorvledged he was aware of


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   lnvesligalion on     06/!3/201e 6 Washington' District of Columbia' United States (In Person)                                                                         b?A
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                 Case 1:19-cv-11861-MKV-JW Document 186-3 Filed 03/20/23 Page 56 of 130
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                                                                                                    Date of   enrrl'   A7 / 03 / ?-01 B



           On Wednesdayr June 20, 2018, Richard Gates                                     eared at lhe Offi            of the
              ci a-'1. Cor,lnsel i,n r:at i :n for                                                                                                                         b6
                                                                        Also present were Senior AssistanL                                                                 b7c
           Special Counsel Greg D. Andres ano GaLes t at-Lorney,                          Tonr Green. Tlre
           following information was furnished:
                                                                                                                                                                           b6
           Prior to pleading guilty,         ul Manafort                                                                                                                   b?A
                        careful with his ne!,/ attorney, Tom Green, because                                                                                                b7c

                                                                                                                                                                           b6
           l{anafort            and Gates were bo                                                                                                                          b7c
           As far as Gdtes was aware, D:4P lntelnational                                 was 100,r owned by Paul
           Irianafart.
                                                                                                                                                                           b?A
           Gates state



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  to bc distfibrrted orrtside your agtenc-v.                                                                            FBI{19w1278)-7492
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            On Wednesday, June 27             2018   Richard Gates     eared at
            Speci.al Corrnsel
                                              Also present were Senior Assistant
            Special Counsel Greg D. Andres and Gales' al-t-orney, Tom Green. The                                                              b6
            following information was furnished:                                                                                              b7c



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              on Thursdavr Jul               5, 2018, Richard Gates             at the Office of the
                                   nse 1
                                               Also present were Senior Assietant
              Special Counsel Greg D. Andres, FBI Special Agent                 and                                                                        b6
                                                                 The followlng                                                                             b7c
              information was furnished:
              Since his last meetins with [he Office of the Special Counse]- on JuIy 5,
              201,8, Gates ha.s been in c ontact with             regar:ci:i ng a pot-ent:i.a l                                                            b5
              news article about Gates,                           in the NY Times.                                                                         b?c

              Note: After approxirnate].y two hours sA [-]   1eft and                                                                                      b6
                                                  took over.                                                                                               b7c

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                                                                                  Datc of   cnrq     09 / 12 / 2OI8



             Richard IV. Gate.s fTI, previousl i dentifi eci was Ln i:erviewinq
                      ly oy FBr Special Agen                        FBf Contrac                                                                   b6
                      ancl Specia.l- Counsef Proseculors Andrew Weissnran arrci Greg                                                              b7c
          An'Cres. Present on the call durlng the interview was Gates'counsel, Ion
          Green. After being adrrised rf the identi:ies cf the intervieuing agents
          and the nature of the interview, Gates provided the following information:

               Gates vras not involrred in the ciistribu:icn of funds as it related to
           the Preeidential Inaugurcrl Ccrrrmittee ipIC) - G.qtee wae not inwol-rzed in the
           financiaf       et clecisior-rs f:,r the PIC eicl-rer                                                                                  b6
                                                                                                                                                  b7A
                                                                                                                                                  b7c




               While testifyj-ng at Paul Manafortts trial j-n the Eastern District cf
          V irginia   { BDVA) , Gates said it was ossible" that he submitted a false
                                                 rl

                    nse             rt to the PI                                                                                                  b6
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              cates did noL like or get along with             Wil                             ini t iall                                         b6
            oined the PfC she of mad at Gates because Gates did not                                                                               b7c
                                        I Gates also diC not like




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                                                                                               Datc of   cntq'         / 23 / 20I8


             on or around 9127/2078, SA                           Special Counsel Prosecutors                                                                   b6
                                                                                                                                                                b7c
             (SUp) Greg Andres and Andrew lllej-ssmann inierviewed RICHARD GATES 1II at
             the offices of GATEST counsel, Thomas C Green. Green was present for the
             interview. Afler being advj-sad of the identity of the inLerview team,
             GATES provi.r,ied the fol.l or,,ri ng informat,ion :

             BLask Carriar Emlei]-

             GATBS was shown the abc've-referenced email                        (attachecl as a 14)
             ,'V" was a ref erence to VICTOR BOYARKIII . GA1'8S understood BOYARKIN to be
             OLEG DERIPASKA's security person.

             Fine caviar and fine vodka w3re common gifts in Ukraine. The only time
             GATES recalled a   of DMPrs :lients  1VI    PAUL I'IANAFORT caVrAr WAS A
             stcry tha                                                                                                                                          b6
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             The fa         est.       a           ts that DMP had receirred for its Ukraine work had come                                                 b6
             f                                                                                                                                             b7c

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                                                                                   Dateof   enrry' 'IA/ 26/2018

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          On or araund 9/27/2O1,Bt SA                                       SA                  S
                                                                                                                                       b7c
          counsel- Prosecutor SCP Gre                      Andres     Assistant US Attorn
                                                                  and Trial Attornev
                                      from DOJ's Counterintelligence and Export Control
          Section interviewed RICHAFD GATES ITI at the r:ffices of GAfES'
          counsel, Tom Green. Green was present for the interview. After
          belng advised of ll:e ider:rtity of the ir:rtervj-ew tealLl, GATtrS provided
          the follcwing information:
          Genesis of I'4AIIAFORT Lobbying for Party of Regions
          PAUL MANAFORT had tried tc pitch a lobbylng campaisn to VICTOR
          YANUKOVYCH and SERGEI LYOVOCHKIN ln advance of the elect-.ions i.n
          20O'l or 2008, but was unsuccessful-. MANAFORT had pitched. GATES had
          helped draft a memo on this topic that had then been given to
          KONSTANTIN KILIMNIK for TTANSIAI1ON.

          In 2011 ar 2JL2l YANUKOVYCH signed off on a lobbying campaign.
          GATES opined that at this time, YANUKOVYCFI was in a financially
          bet-ter pcsition and that- he had more trust in MANAFORI from their
          work together.


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  F-ile                                                                            Dare dnrfted L0 / 03. / 20Le


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             Robert fan Goldstone, DOB:                           1500 Washington Street, 2vl, Hoboken,
             lilew .Tersey 07030, 9f i i43-                     nt-erviewed at the Special Cottnsel's
             Office        Washi     on  D.C.   Also   present  ltere attorneys
                                                                                                                                                      b5
                                                 f Gage, Spencer alci Fferni , Assisl-ar:l- Special                                                   b7c
             Counsel L. Rus At kinson,                 ^l da
                                                       L1 -    ents  t
                                                                                                 and
                          Intel I igence F-na 1,zs:                       and                           and
             Staff Operations Special:-s:                                  ter       nqa     se o
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                r-lenl i ty of tl-re i nterrri er"ri n       s           na1_rrrr. of rhe i nlerrri ew,
             GOLDSTONE provi,Ced the                     follouing       information:
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             So:ne of GOLDSTO\IE'S clienLs                     inclucie                                                                per Do,J/oIP
                          EMIi\l


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                                   In 2OLZ GOLDSTOIIE sl-arlecl workir                  for EMIN AGALARCV




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                  ,Jeffrey Duane GCRDON                date of birth      (DoB)              ce11u]-ar                                                      b6
                                                                  emai.l" address of                                                                        b7c
            te.l-ephone number                                                                                              htas
            inLerviewed al the FBf Washingt on Field Office 601 4rh sr NW                                 Wash
                                                                                                         l1

            D.C. GORDON b/as accompanj-ed cy his attorney,
            Present for: the inte::view were
            Supervisory Intelligence Analys t                            Senior Assistant Special
            Courrscl lJearrrrie Rlree; crrrtJ AssisLarrL Speci.r.l Cuurrse^I Aarot.r Zelj"lr>1..,y. Af Ler
            belng advised of the identity of the inlerviewlng agents and the nature cf
            the interview, coRDON provided the folLowing information:
                                                                                                                               b5 per DoJ/oIP




                 During ttre Marcl: 31, 2016 foreign policy meeling TRUMP had saj-d LhaL he
            di-dn, t want to have Worl-d War ffI   over Ukraine and that he wanted better
            relations with Russia.
                                                                                                                                                    DOJ/OTF




                                                         rJllcr,AssrE't8,D/ /fc,vq

   Irrr.eslig*tion on   02/r4/2AL9          al   Washington, Di-strict Of Columbia, Unj-ted Slates {In Person)
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  to bc dislribuled oulsidc yout sgellg).                                                                        FBI(1ew1278)-2s43
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                                             FEDERAL BURE,{U OF INVESTTGATION




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                   .JEI-['ERY D. GORIJON (GORIJO:]), date or birth (l]oB)                    was                             b5
                                                                                 Washington Field                            b7c
              interviewed at     the FEDEML   BJREAU   OF INVESTIGATION   tFBI),
              office tWFo), 601 4th Street NW Washi ton, DC 20535 on August 29, 20\'7.
              GORDONf s tel  hone number is                and his email- address is
                                   GoRDoN was advised that the nature of the i-nte
              was   o             v ities related to Russia and the 201-6 Presidential
              canpaign. GORDON was advjsed that false s:alements to ahe FEI vrere a
              vicfation of federal law and that his sta:ements must be true and accurate
              :o the best oi his knowleclge. After being aCvised of the identitj-es of the
              interviewj"ng Agents and the nature of the interview, GORDOT{ provided the
              following information:
                    GORDON was glad the interviewing Agents htere speaking with him as he
              believe<j Lhere were   a 1oL  of strenan-igans irapperring aL rhe ttigliesL l-evefs'
              Speclficalliz, GCRDON was upsat that the administrati-on had not been
              :ruthful in the media with r:gards to con:act with Russians. GORDON has
              kept apprised of the information about Russia in the news and relayecl his
              will-ingness to fr:} ly cooperate with the .special- Cor:nsel investi-gati-on.
              Backgrouncl

                    GORDOI\ served as a Corrunanle: ir: Lhe ldavy and fornrerly heJ-d Ltre posiLicrt
              of    spokesperson for the US DCPARTMEIIT OF )EFENSE (DOD) at the Pentagon.
              During his prior .service and employment, GORDON interacted with many
              foreign governments cn an official capaci:y. Upon hi-s departure from the
              Il.q lloll' three separate govel.nment-q helcl going away par'lies:i n GoRDoIlrs
              honori Finland, Yenien, and Canada. CORDON received approval to attend
              Lircse evenLs ancl coorr.linaLecj wj- Lh U.5. Goverrurrent agerrcies for tlre evertL
              helcl at the Yemeni- ccnsuiat-*e. Al-1 of the events we].e held at their
              respecLive foreign consuia'"es or embassies.
                 GORDON now operates h:s o^rn consulling business, called J.D. GORDON
              COMMUNTCATTON.S, l,LC. GORDOI{ nas treen a pol:i l- jcal girest speaker on a
              variety of media out.l-ets, such as FOX NEWS and the WASI{INGTCN TIMES.




    lnvrsligalion on          A8/29/201't ,,, Washingtor:., Dlstrict Of Columbia' United States {In Perscn)
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                                               FEDERAL BUREAU OF INVESTIGATION


                                                                                      Datcofcntry 02/ 16/20I8


                 On Tuesclay, January 9, 201-8, .TONATHAII }IAWKER (HAWKER) was interviewecl
              at the Offic e of the Special- Counsel in Washin onr lJ.C. Present for lhe
              interview we re FBI Special ent                       DOJ Senior FinanciaL
              Invest igator                          Senior Assist ant SpeciaL Counse.l-s
           AniJrew A. Wejssmann anri Greq D. AncJi:es and Assistant SpeciaI ColrnseI Brian
           t4. Richardson. Also presen: ./ere HAI,IKERTs attorneys,
          t-l            Hurr Lurr 6 lliilia-rr> LLPI 22oo PetrtrsyJ- v.rtti.r Avettuc, Wa>lrirrg Lr-rrr                b6
           DC, telephone number t2OZ) 955-15t0. After being advised of the identity                                     b1c
           of the j.nterviewing part:-es and the nature cf the interview, I-iAVIKER
           prcviced the foll-owir:q infornation:
              NOTE: Special- a'gent     and Senior Assistant Special Counsel Andres were
              only present for the morning portion of the interwiew of IIAWKER.
                                                                                                                         b6
                 Prior to the intervier,r conmencingt Attorney          aclvisecl he                                     b1c
              represent'ed both HAWKER and HAWKEF,TS f olmer empl-oyer, FTI consult r-ng .

                 Special Counsel Attorney Andrern' illeissmann advised HAWKER tiiat his
              participation in Lhe intervi3w was rroluntary. HAV{KER was a}so advised that
              he needed to be truthfuf in nis answers ancl lying to a Federal agent could
              constitute a Federal crine. HAWKER verbally acknowl-edged that he
              understood.

              }iAWKER BACKGROUND




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                                                                                Datc of   cnr4   03/ 22 /20!8


             (U) on 02 /01/?OLA .Special      nts
            Intelligence Analyst                          and Assistant Special Counsel                                                  b6
            Aaron Zelinksy inl-erviewed ,JACOB HEILBRUNII (HEILBRUNhI) aL The Special                                                    b7c
            Counse]'s office in wash.i- t3n, DC. Present for the inlerview were
            Heilbrunn's counsel,                                                           The
            interview was pursuant to a proffer agreement. After being advised of the
            icjent-jty of the j.nt-e::viewing Agents and the natu;re of t-he jnt-er:vi.ew,
            :{EfLBRUNN provided the following information:
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                                               FEDERAL BUREAU OF INVESTIGATION
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            (U/lf€{Jof Rachel Mary HoFF, Cate of birth                          (DOB)                     social-                                        b6
                                                                                                                                                         b7c
            securit number                resicience
                                           was i.nte::vjewecl by SAs
                         at the FBI Washington Field Offi-ce on May 26, 2A17. After
            being  acivisecl of t-he idenLity of Lhe inLerviewirrg agenl-s and Lhe naLure cf
            lhe interview,    HOL''F' provided the followrng     infcrmation:

            (V/lffig,)    HOFF was a deleqate for lhe District of Columbia at the 2016
            Reprrl-r1 ican Naiir,nal Con'rrenf i:rn (Rl';C). Hn:.F explainecl her firsl time beirg
            a delegate at the RNC vras in the 2012 e.lection cysfs.            The 2016 RNC was
            i{OFFr s f irst  tinre ot-t a P:-aifrrni Cctrrntittee. HOFF  worked cn the Natiorral
            Securft)' and Detense Platforn Committee. Her tul.l-lime emplol,'rnent tuas
            working                                                                  where                                                               b6
                                                                                                                                                         b?c
            she was ernployecl during the Lime of the RlrlC up until approximatelv
                     F,OPF informed the interviewi  a ents she       an        nt with


             (U/zafetrct HOFF explained the National Security and Defense Flatform
            Coarmittee workeC for approxi-nately two days. According to HOFF the rcom
            was filled \',ith clelegates -;o the F.NC, ceriain members of the media or VIP
            staff, one RNC paid transcricer, two volunteers from the Republican
            I'laLionaL Committee, and two nembers from -.he 2016 Trump
            Canpaign. However, HOFF s!'ated only delegates were permitted to take part
            in the formal- discussions on what the plarfcrm shoufd state. HOFF
            believed the non-delegates in the room may interlect their opini"ons or
            ideas informall-y to ceLega:es during breaks or outside of the offrcial
            Platfcrm Committee meeting r3om. According to HOFF the two Repr-rblj-can
            l.1aLiona1 Committee staffers were                                           and                                                             b6
                                                JD Gordon  ancl an  individual who's name  was                                                           b?c
            ahe Trump Campaign members were
            unknow-n to her. Accordin t: HOFF
                                                       rks on C ap1 tol HilI as a staffer fcr
            an unknown congressman or senator.

            {U/r'ileg€+ HOFF informed the interviewing agents she had met JD Gordon
            previously buL sLill is unaware who Ltre oilrer TruJItp Campal-r;n st-affer:
            is. Accordrng to HOIP, she hacl limj"ted j-nteraction wiih JD Gorclon during
                                                       r.Jllcr.As s r F r ED / IFoUA


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   lrrvestigation on      A5/26/20'17          n1 Persori)
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                  .fAMES      I(. HO.SKfN.S ']R., claLe of birth              noB)                                 social                                                     b6
             security                                                              u/as inter.riewed at his                                                                   b7c
             residerrce                                                             HOSKINS was
             advj-sed the nature of the interview was to Ciscuss a foreign pol-icy
             meeting he attended for the f,ONALD J. TRUI'{P campaign on March 31, 2016.
             HOSKINS was further advised intentionalLy providi-ng fal.se .staternent.s to
             i-h-- int-erviewing Agent-s r'ror:lJ b:e a rrio'l at-ion of fede:al .l aw. After heing
             advised of the nature of the inLervievr and the identities of the
             j-nt.erv-iewing          Agerrts,    IIOOI{f}iiS p:-or.riderJ tlrc   fgl}cwirrg   irrformatigl;

                    HCSK1NS acknowlecjged his
                                           pre.sence al ahe meelinE oil l\tarch 31, 2076.
             The agents showed HOSKINS a )hotograph ruhich was taken at the meeting. The
             Agents then advised of a rec3nL Washingtc'r-r Post article ".rhich alleged
             GEORGE PAPADOPOJLCS had i n:rcduceci the concept of arranging a meeting
             between then-Candidate TRU4P and F.us.sian presiderrt, YLADfMIR PUTIN.

                  HCSI{Ii{S immediately :-dentified PAPADOPOULOS in the photograph and
             statecj to lhe best of his re;ollecti-on, he remembered everyone at the
             meeti-ng went arcund the tabl= and introduceC themselires, When it was
             PAPADCPOUT,OST turn, he said something to:he effect of "Mr. PUTIN would
             Like to meet you, " which was almost immediately met rqith a response of "no
             you shorildnrttr from the other-s in the room- HOSI{INS rernemherecl the
             re;ponse happened microseconds after PAPA)OtrOUI,OS proposed the idea.
             !{OSKfNS couldn'L recall who traci spo}:e firsL buL sulrnised iL was f ikefy
             JEFF SESSIONS who was the first Lc sa1' no tc PAPADOPOULOS. That was the
             first and last time HOSKINS saw PAPADOPOULOS.
                    HCSKINS further              identified     SESSIONS,                        J.D. GORDON,                                                                 b5
                                                                              ancl KEITH KELLOGG in the                                                                       b7c
             phctograph. SESSIONS inwited HOSKINS tc the meeting to ciiscuss topics
             related to intelligerice anci ;yber activities. During Llre trreeting, H05Kfh15
             expressed thai- Russia, China, terrorism i:r the Middle xast, and Norih
             Korea woufd alt be continued threats in the irurrediate fuLure. HOSKINS
             spoke after PAPADOPOULOS.

                   HCSKTNS did not remember the trlpi c of the llkraine lrejng brought r:n at
             any time. He ratlrer recailed the focus of the meeLing was on lhe nuclear



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   ITESRE sTEilII OTER}fJSE

                                                                                                          was interviewed at                                       b6
                    Jason James Mill-er, date rf bir                                                                                                               b7c
                the .!.aw of f i ces of Greenberg Trauri.g, a                                          t:eef , N W., Viashj ton,
                D .c. 2OA31. Miller     was accomcanied b his                                   rsonal counsel

                and emai.-l- addres                                                     irom the l-aw offices of Greenberg
                't'rallra   Partici                     ri      i-n tha interview we re FBf Specral Agents (SA)
                                                            nd Special- Counsel's off.ice
                attorneys                                      Afler hei ng arJrri sed of 1 her
                                     RranrJirn \/anGrack and Za inah                Ahma .l .
                identities of thc] intervierving tcam and thc purpose  of the intcrv:-ew,
                Mil1er provided Lhe following informaLiorl:
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                 Olga Kala.shnikova, dat,e rf birth iDOB                          was                                                                              b6
                                                                                                                                                                   b7c
            interviewed ab the Office       Special Counsel in Washington, D.C, SSA
                        IA                  and Special Proseculol Brian Ricliardson were
            present t-or the intervietu. Kalashnikova was represented by
                                              of the law firm Bryan Cave Leighton
            Paasner. Kalasnnt                 nt ed with a proffer agreement which she and
            her at-torney.                       s;i gned and dat-ed. Speci a-l Pros<rct:l-or
            Richardson explained the proffer agreemenl to Kalashnikova and her and her
            attorr:ey ad.rise.J they had no questians ::egardir:g the ag:-eetleut. After
            being advised oI the identity of the intervlewing agenr and the nature of
            the interview,   Kalashnikova provided the following information:
                                                                                                                                                                   b6
                 Kal-ashniko?a was born in                           She lived in                                                                                  b7A
                               she moved io                    to attend                                                                                           b7e
                              She gt aduated with a de Y ree l-n
                             lsrr*




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                                                    FEDERAL BUREAU OF INVESTIGATION


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                 ZALMAY KHALILZAD, former Jniterj                    Stat-e.s {U.S.) Ambassador and current
            Board of Directors member of CENfER FOR THE NATIONAL INTEREST (CNI) ' was
            ilLerviewed pursuanl Lo a pr)ffer agreernenl- a1- tsaker & Hosl-eLler, LLPI
            1050 connecticut Avenue NW/ itashington, DC 20036 b]t special Agent (sA)
                             SA                              InLelligence Analyst (IA)                                                  b6
                                                                                                                                        b?c
                        Ass istant Special Counsel {AsC) Aaron Zelin'sky, and ASC Andrew
                       Acc       n ln               D wa.s CldTts out-si.de coltnse:l at.t-orneys
                                                                        from Baser & Hostetler,
            LLF. After beir-rg  aclwisecl ,ri tl:re iclentities   of  tlre it-rterwiewinu c'ff icials
            and after reviewj-ng the proffer agreement' in the presence of hls
            attorneys, KHALILZAD e:;ecu:eJ the proffer aEreement, whereupon he provided
            ihe fol-lovring information:
                Frcm 2003 lo 2005, KHALILZAD was the U.S. Ambassador to Afghanistan.bs per DoJ/orP
            Frcm 2005 to 2O07, KHALILZAD was the U.S. Ambassador to fraq. Frorn 2AO'7 lo
            2409 t KIIAI ILZAD was the U.S. Ambassador to the United hlat]-ons UN}.      b6
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                                                                                                                            per DO,I,/OIP




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   to bc distribrrled outside y our agenc; .                                                                  FBI(19w1278)-2636
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             U         An 08/3012018 Speclai Agants (SA)                                and
                     interwiewed DAVID N, KLEIN (KLEII'] ) al the French Press Coffee
                5    s UpLown a{- 95 E KenrtecJy B1vd,                    08701. The int-erview
           was estab-l-ish vi-a a telephon3 cal-l lo                       During the phone cal-1,
                                                                                                   b6
           KLEIN slated he was wilJ-j-ng to talk with:he FBI, had concerns aboui                   b7c
           speaking to the FBf wilhou: in attorney present, but he coul-d not affcrd
           an at-t,orney. KLFTN stat-ed he woi:l i meet- wi th the SA-s br:t reserved the
           ::ight to not answer any quesLions or coufd stop the inrerview Lo consult
           witl-r ar-r attorrrey. Iti persot: errd prior to :lie iuterr.iewr
           reiterated to KLEfN the i n:erview was enlirely vofuntary and KLEIN could
           stop the inte::view at any:ine. After beieg advi.sed of the identities of
           ihe lnlerviewing SAs and the purpase of the intervieiv, KLEIN provided the
           f ollowing inf or:nal ion :

           {U) During the 201-6 Presidential Election, DONA]-D.T. TRUMP (TRUMP) had a
           lot of s    rt f rorn    le il Lakewood, NJ. I{LEI}.1 is f::om Los Angeles, CA
           and had a                                                     i|h JASON                                               b6
                                                       attorney. KLEIN reached out to                                            b7c
                              IATT) , TRU-.{P',s one-t
           GREENELATT offering assistan:e to the TRUMP CAMPAIGNT but GREENBLATT neveT
           followed up with KLEIN.
            (U) KLETN felt he coulcl repr--.sent the people of Lakeruoodrs i-nteres
           the TRUMP CAMi-'AIGN becau.se I{LBII'I knows the players in Lakewood, NJ                                                      b6
                                                                                                                                         b7c



           (U) KTEIN recalled that beiore and cturinq the run-up to the 2016 el-ection
           rhere was interest in improving relalions between Russj-a and the United
           States (U..S.) r-rnlike today. KLEIN feft it m*de sense to have a fr:-end1y
           relationship with Russia. KLSIN recalled SECRETAF.Y HILLA|IY CLINTOIi'.s
           "reset" with Russia.
            {U) KIEIN is Orthodox 'Tervish and thought he coul-d reach out to assj-st 1n
           improving U.S,-Russian relations through :hat community. KLEIN searched
           online and found RABBf BEREL LAZAR {LAZAR}, the Chief R.abbi of Russia.
           KT,ETN for-rnd T,AZARts emai l adCres-s oniine an,:i ccntacted L,AZAR. T,AZARts
           office reached cut Lo KLEII{ Lhat LAZAR r'ras planning a trlp to the U.S.



   lnvesligntion on        AB/30/201e .,, Lakewood, New Jersey, UniLed Sta:es {In Person)
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  10 be distribrrtcd   outsidc 1'our agenc,v.                                                               FBi{19cv1278}-2646

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            (U) on 02/27/201"8 Special Agants                         and                          with
            Assistant      Special     Counsei Aaron  Zelinksy    interviewed    LENDWOOD    LANDRUM AKA                             b6
                                                                                                                                     b?c
            PETE LANDRUM (LANDRUM al- lhe spe c 1 Counselt s office in tiashington, Dc.
            LANDRUM' S COUNSE]-,                    and                   were also present. ASC
            Zelinksy adrnonished LANDRUM that it is a             crime   to lie lo the FBf, that
            Lhis intervi-ew was voluntary, and that any questions asked were not
            i.nl-encieci t-o e.l ici.t- informati.rn cli.sct:ssed wit-h T,AI'TDRUI4rs cot:nsel
            stateci that LANDRUM was prepsed on the docunLents perviously provided
                                                                                                              r-- ]
                   statecl that IANDRUM rvo.rlc.l be i'rappy tt; researclr a:ry cther j-nfc,inraticl:
            and pr ovide it. efter being advised of the identity of the lnterviewing
            Special Agent.s and the naturs of the interview, LANDRUM provided the
            followirrg infor:nation :
                                                                                                                          b5 per DoJloIP




                                                                                                                          b5         Do{t/orP




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  to bc distributed oulsidc 1'our ageucy.                                                                         FBI(19cv1278)-2649
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l'D-3{}J (Rn'. 5-tt-l{})                                                                                          :\. ,,ttlt
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                 COBEY LEtr{AhIDCWSKT, date of birth                         Socia] Security
            Account Number (SSAI.] )                 vias interviewed on November 8, 20i"7 at
            t-tre FecJeral- Bureau of lnvesligal,io.n - Special- Counsel's .office, 395 E                                                                  b6
                                                                                                                                                           b7c
            Street SW, washinqton,                       ring the i-nter.riew were
            LEIdANDOWSKf ' s ALtorNC                     FBI Special Agent (SA)
                     SA                      Special Counsel Attorney JIANNIE RHEE, Special
            Corrnsel Att-orney AARON ZnT,TN3KY, ancl Special Cclrnsel Aitorney AI.IDREW
            GOLDSTE]N.

                Frior to the intervi-er.'r, LSWANDCWSI{I and his attorney were provldec.l witl-r
            i,he attachecl .shcr,i documents to review for apprcximately two hc,urs at the
            interv.iew location. They were aflor,/ed t-o review the documents at the FBI
            office but did not receirze a coFy of the docunents. Ac Lhe beginning of
            :he interview, LEWANDOVTSKf signed the attached agreement and was j-nformecj
            ihat mal:ing intentional- false statements :o the SAs coul,C result in
            feCeral charges. LEI/iA1'IDOWSKI then provided the following infc,rrnation:
                  LEI/IANDOWSKI initially             became involr'ed in the DO|IALD .1 . TRUivlP {?RUMP)
            presioentiai                ca:npai-gn when h= wa.s the National Direclor for Voter
            Registration in Manchester, \lH. In April 20L4, he was involved in an
            event far 2016 presicient: al :andicjates and DAVID BO,SSf X of CITIZENS UNITED
            askeci LEWANDOi,IISKI abor,rt joining the TRUMP campaign.

                LtrWANDOi^lSi{I nrct with TRUM? in ianuary 2015.rnd then bec.rrr;e thc Scnior
            politj-cal Adviscr working tvit.h the TRUMP ORGANIZATIOId unlil- the official
            campaign vras .stood up. Then LEIVAIiDOWSKI became the Campargn lulanager for
            the TF.Ul"lP res iCential- campaign. LEWANDOWSKI was paid approxlmate.Iy                                                                      b6
                              base salary r*ilh the oppo:tuniLy for bonuses. The bonuses                                                                  b7c
                              or each state if TRIr'l'4p won the primaries for lowa, New
            Ha:rrpsh lre, or Scuth Caroiina.     The bonus was           if TRUMtr placed
            seccnc in Lhose states. These payrnents were rlegoLj-ated witfr fRuuP prior
            i,o the campaign b'eing sLood iP.
                                                                                                                                                          b6
                At the lime LEWAI,IDOWSKI ;vas brought on, he and              vrere the                                                                  b?c
            onlv paid campaign tearn mernbers            was inrrolved in the campaign




   Irrvestiglrlion on      r," I 0B l20f i    at   Washington, District     Of Columbia, Un:-ted States (In Per.scn)
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             {J      On1         io/ 2018 SANDRA LTJFF was int-erviewed b               ial- Age                                                   b?c
                                    Intelligence Analyst                               and Assistant Special
            Counsels Andrew Goldslein anJ Aarcn Zelinsky cr't- l-he Offiue c;'f Spec-ial
            Counse.l (SCo) | 3 95 E Streer SW, Washington, DC 20O24. Accompanying LUFF
            was her attorney               AfLer being advised of the identity of rhe
            interviewing officials and Lne nature of ihe interview, LUFF prov.ded the
            fol .lowi ng i nfornaf-ioi-: :
             U       LUtr'F currentl             worl,:e for                                                                                       b6
                                                                            LUFI speaks                                                            b7c
            j-nfrequentll/ wilh Attorney G3neral "lefferson Sessions and the last llme
            chey spoke lilas in ear11' Decenber 2O11 aL a nutual acqua-intance's
            retirement party. Before that, they probably saw each other a few monLhs
            pri-or at another social ga:hering, I,U['F workecl for Senator Sessions for I
            years, the last 6 as hi-s legi.slatiwe cli:ectcr and the first 2 as hi.s
            rrationa} securiLy advisor. As legislative director, her iob was to
            malntain vratch on all- l-egislation movlng rhrough congress and to assist
            Senatcr Sessions with offeriir solutions to bills or writlng the bills
            :hemselves. LUFF                                      and was offered a
            position viith Senat-or John Warner working wilh the A:med Services
            Cornmittee. Arouncl the tine S=nator Warner retired in January 2009, Rick
            Dcarbcrn, Scssions t chicf of staff, offercd LUFF a position with Scssions.

             tU) Sessj-<;ns' office had Leals for Lhe var"ious corturiLLees ire served ort,
            such as agriculture, budger, judiciar.rr, defense, etc. Foreign pol:cy fit
            under the defense team. LUIF sometimes traveled rn'ith Sessions on for:eign
            ;rips and trip.s back to Alabama. The outreach and travel to forei-gn
            cor-rnf-ries was ccndr-rctecl as part of congressional clefegations (CODELS) or
            rneetings vrith forcign dignitarics.
            (U) Sessiolrs was the flrst senator to endorse Donald Trump for pre":ident.
            Sessicns was later tapped in February o: I.4arch ?016 t-o head Trumprs
            national security team. LUFF was unfamiLiar wj-th how Sessions was chosen,
            but opined it was a cynan'ric, unoffici-al process. LUFF;houqht.someone frcm
            the campaign told Sessions tr handle the lational secu::ity team. T,UFF djd
            not receive updates from the Trump campaign while she worl<ed for Senator
            Sessicrrs.



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                   MATTHEVI MILLER. clate of             birth   (DOB)                   soci,al secur:i.ty                                           b6
                                                    trras inlerviewed on October 25, 201-7 at                                                         b7c
             account number (SSAN)
             Lhe U.S. Depa::l-menl- af Labor', 200 Consl*iLulion Alrenue lrlorLirwesl,
             Washington, D.C. 202L0. Aftsr being ad./iseC of the j-dentities of the
             interviewing Agents and the nature of the interviev, MILLER provlded the
             following infornation :
                MIILER started off on the TRUMP presidential campaign as a Pennsylvania
             state director i-n the primariee . Then he bec.arr,e the N,ationaf Direc.tor of
             Vets for Trump.
                 At the Republican NationaL Conl'ention (Conventioni, there uere three
             GOp platform buckets - econol:ric, socia] and natj-onal defense. J.D. GCRDON
             and MILLER rsere invol-vecl in the national defense commiitee meetings with a
             ihird campaign individuai rvhc was an attorney servi"ng as the parfiamentary
             expert but I{ILLER can not recal} that indi-vidualrs name. GORDOI! was the
             head campaign representative                  and MfLLER was the second                               was                                b6
                                                                                                                                                      b7c
             the co-chair.

                Numerous amenclments were Droposed at lhe conmitLee meeting MILLER was
             in. Cne of the:n was present3d by DIANA DilNMAN, un year ol-d woman who                                                                  b6
                                                                                                                                                      b7c
             was v€ry supportive of freedam fighters and worked in novie.s u'ith RONAI,D
             REAGAN. DENMANTs amendmenr involved committing the U.S. to defencl Ukraine
             with al-l- means possibfe i f Rlssi-a atlackccl . Scmc of the amendments passcd
             and others lvere defeated but the Ukralne amendment was tabfed until-
             later. The tabling cf this amendment during that meeting j-s the first
             :ime MILLER discussed the toDic of the amendment.
                 MILLER doesn't recal-l if GORDON talked tc Lhe chairman about Labling
             -rhe arnendment. It was as non-nefarior-rs a.s it ccmes.since the NATO
             mentality was if you attack cne you attack alt arrd it shou}dnfl ju.:t fal1
             on Lhe U.S. Lo .lefend Ukraine. MILLER dicin'L Llrink iL rtade sertse for Ltre
             platfcrm to fock the president in to making such a significant commitrnent
             to defend Ukraine. GORDON talked to DEI{MAN aboul lighrening the amendment
             and eventuaily the liqhtened version passed the vote.




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                Paul J. l{anafort, date of birth                                            \tas interviewed at the                                                    b6
                                                                                                                                                                       b7c
            off j ce of the .Spec i.a.l Counsel in Wash'i n                     o   nterwi er/ers were
                                                                                         fi. C .   The   :i

            FBI Special- AEents                                                    Assistant Special
            Counsels {ASC) Jeannie S. Riree, Atidrew I{eisstnartn ancl Greg Andres; atrd
            Assistant UniteC States Atiorney                              Present represent].ng
            l.{anafcrt vlere attorne s Richard Westl 1n g, Thomas Zehnle and Kevin Dol*ninc
            and paralegal                     FBI SA            advised Manafon of his
            righi-s-   Manaforf    s1 ;-|.ecl i-hal he t:nrJers,r-nori his rights and l-hat he l^ra.q
            wi1lir.g to an.srver        stions. Manafort signccl a FD-395, A,Jvisc of
            3.iglrLs, FBr SA               advised Malaf r.,r L Liral i L w.rs a ur i-nte Lo l-ie Lr.: Lhe
            I'81. Manafort statea that h: understood. ASC Weissmarn reviev/ed the
            rerms of a letter setting :orth the agreernent upon whj-ch Manafort made
            hinself ava-il-able for interview. Manaforc, Downj-ng and ASC Weissmann
            si gnec t,he l et-t-er agreemeni- . Aft-er bei ng aCvi sed of t-he i dent i t-i e.s of t-he
            interviewers anC the nature cf the inte:vi-ew, Manafolt provided the
            following ir-rfor:*ation :
               Mar:afort reaC from a typeuuritten statenent regarding hls conduct as it
            related to the iounts aliegel in the Eastern District of Virginia and the
            District of Columbia. The slatemenl will- be maintained in the 1-A secticn
            of this casefile.                                                                                                                                          b6
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                At the end of Feif,ruary or beginning of March 2ji6t l.4anafort and Ton
            3arrack were in Cal-ifornj a. Manafort 1-ol-d Barrack things that he thought
            f,he Trump Campaign was doing wrong. Balrack asked Manafort if l'lanafort
            was interested in running lh= Campaign. Barrack and Manafort had a series
            of calls cluring the next courle of weeks- At the middle or end of I'4arch
            2016t Donald Trump calLcd l'{anafort to discuss Manafo:t joining the
                                                          rJ!'rcr,Ass r F TED / /+€'ee


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               Paul J. Manafor t, date of birth                                         was inte rviewed at the                                                          b6
                                                                                                                                                                         b7c
            Office nf the .Spec :i-a.l Cotrnsel in t{ a                     i.ngton, n .C- The i nterwi er/ers were
            FBI Special Agents                                                                  Assistant Speci a1
            Coururels iASC) Jeaprrie S, Rhee, Arrdrew I{eisstttantr alttl Greg Alitlres;                              altcl
            Assistant UniteC States Atiorney                            Present representing
            lulanafcrt vrere attorneys Richard Westling, Thomas Zehnle and Kevi-n Downinc
            and paralegal                    FBI SA           advised Manafor: of his
            ri gh|s - Irhnaf nri_ sfal-er-J  l-h,at he r:nclersloori hi s ri r;hf s anrl l-h:l he waq
            willing to an.gwer qucstions. Manafort signed a FD-395r Advisc of
            R.iglrL..:. ASC i{eissniarin revierved Llre Leurts <-r.f a leL Le.:- seL Lirrg ,f <"rr Llr l-}re
            agreercerrt upon which Manafort made hirnself available for
            j-nterview. Manafort, Dor'rninq and ASC Weissmann initialed the letter
            agreement. After b'eing adrrised of the idenlities of the intervier,rers and
            'i--he nat-llre of t-he i ntervi ew, Manafort p':-ovi decl t-he f al I owi ng i nformat-i on:

                                                                           .oe
                 Manafort knew that if Trr-rnp got elected, there would         opportunities
            for him to make money.    Af:er   Trump wa.: electecl , Manaft>rt travefed   to the
            I'IiddIe Bast, Cuoa, Korea, Jalan and China where he got      paid   to expiain
            what a Trump p resiclen   woull be l-i ke. In inid-201?, a Ukrainian candidate                                                                               b6
            for President,                         approached Manafo:t about polit.ical                                                                                  b?c
            consufting.
               Manafort askecl Konstantin Kilimnik to 'track down documents related to
            ihe inctj-ctments agairist Manafort,, irrcluding contracts and trCtrMU
            brochures.    Manafort anct Kilimnik communicated using encrlpted
            applications   such as Viber, Signa1, tr{haisApp and others.   They started
            using the applica tions over a concern thai                                  e in the Ukraine and
            tussia were hacki their ac:ounts.                                                                                                                            b3
                                                                                                                                                                         b6
                                                                                                     After          he was                                               b7A
                                                                                                                                                                         b7c
            i-ndicted, Manafcrt purchased a "pay" pfione to tal-k with Ki-l-1mn1]: and                                                                                   b7n
            Gates. The pay Phone clid noL have a a lications on it. About six
            months ago, Manafort got a c:llphone                                           In
            SeptenJrer or October 2 Qt7, a BBC     ter,  First   Name Unknown  (FNU)   Woods,
            cal-l-ed Manafort on his       or         one nurr'ber.


                                                            rJtrcr,AssrE'aF,D/   /revo

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                   PauI J. l{anafort, date of birth                  was interviewed at the                                        b5
                                                                                                                                   b7c
            Of f i ce of the .Speci.a.l Counsel i n $lash:i ngton, D.C. The i.nt-ei:vj evrer.s were
            FBI Specia I     ents                                             FBI Forensic
            AccouriLenL                    arrJ Assisl-anL Special-   Counsel.:        (ASc) Andrew
            Weissmann and Greg Andres, ?resent rep:esenting Manafort were attornelis
            Richard Westling, Thomas Zehirle and Kevin Dcwning and paraleqal-
                      After being acivised of the iclentities of the inierviewers and Lhe
            natitrF cf lhe i nlerrri ew. Manaforl- prorri cleri lhe f ol 'l oi'ri trg i nformal: on:

               Manafort used encrypted acplicatione to comrRunicaie, t1pical1y si the
            recorlxrendalion of Ri-ck Gates. MariaforL does nct recal-l his usernalnes or
              sswcrds lor the        licatioirs
                                                                                Manafort                                           b6
                                                                                                                                   b7c
            will work with his counsel tr prepare a fj-st of usernames and passwords
            for: hi s r,:ommnnication accotlnt.s.
               Manafort p::imarily used t.ro iPhones to communicate. The phones were
            assigned telephone rtundrers                                 Marraf ort                                                b6
                                                                                                                                   b7c
            purchased a pay-as-you-ga Bof,st phone lasl year. iulanafort does not recall
            its assi-gned nunber.
                   Manafort had WhatsAPP on eis                                                                                    b6
                                                                                                                                   b7c
            cellphones.   i'4anafort used W:ratsApp to conmunicate with people in                                                  b7E
            Europe- At- Gatesrs sugges:irn, Manaforl downlcaded TeleErarr' L'ut he never
            used it.    Manafort used Wickr for communications with pecple in tire Middle
            East. Manafort recentl-y used Signal to comnunicate wi:h Konstant'n
            Kilimnik. Manafort used Threema to comrnunicate r,rith                  and
            individuals in ihina. Manafcrt did not recall wheth er                I eema tc
            comrnunicate with Gates. Manafort used ,9kype fcr personal canmunicali-ons
            with hj-s family merrl:ers. I'4anafort used Snapchat only for social
            networking. l,lanafort used Viber ln Ukrai:re. Manafo:t also used Viber fcr
            communications related to 'Lh3 Trump Campaign. ManaforL used Fiushnail to
            communicate with Ki-limnik anj Gates. Manafcrt usect lleChat to comnunicate
            with pec'ple in China. At             suggestion, Manafo:t used Voxerr but
            only for a couple of days                      20L1 .                                                     ort
            cloes not recall using it.

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                 Paul- J. Manafort, date of birth               was interviewed at the                                                                   b6
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             office of the Spe cial Counsel- in Washi ton D.C. The interviewers were
             FBI Specia 1 Agents                                     FBI Forensic
             Accountant                    and Assistant Special Coun.sels (ASC) Andrew
             Weissmann and Greg Andres. Present represent!-ng Manafort were attornevs
             Richard Westlinq, Thomas Zel-rnle and Kevin Downing and paralegal
                       After being aclrrised of the intervlewers and the nature of the
             interview, Manafort provideci the following informati-on:
                Manafort talkecl to             to get lhe story out regarding lhe                                                                       b6
                                                                                                                                                         b?c
             Ukraine platform fight at the Repub'lican NaLional Conrrention. Manafort
             briefed Trump about the issue along with oiher post-convention
             matLers. Manafort does not betrieve that Trump knew about t}'re floor fight
             untif after the convention. Konstantin Kilirnnik asked about the platform
             language at some poinl, but Manafort does not recafl the details of their
             conversation.
                 Trump publicly stated that the people of Crimea wanted to be part of
             Russi-a. Trump and Manafort had not talked about Russia policy before
             Trump macte thi.s statement. Trump follows the news a l-ot and probably read
             this view somewhere and then repeated it. Manafort told Trump that
             Manafort disagreed with the statement. Manafort gave Trump a brief
             historlz on Ukraine. ?rr-r.rnp does not generally .like to commit on f oreign
             policy issues until a specifi-c scenario arises. Trump believes that he
             can solve foreign policy di-sputes by avoiciing the bureaucratic loqjam and
             having face-to-face meetings.
                Trump and Manafort did not have a lot of pollcy discussions. Manafort
             and Trump sometimes .spoke on the plane but it usually revolved arouncl
             issues in the news. Manafort and Trurnp spoke on t}:e plane about whether
             Obama's sanction against Russia were working. Manafort did not have any
             other poJ-icy di,scussions wilh Trump regarding Ru':sj-a or Ukraine.
                Dimitri Simes r,/rote a foreign policy speech for ?runp. Henry Kissinger
             had recormended Simes to Kushner. Trump did not like the speech, so
             Stephen Miller redrafted it.

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l'D-302 (Rc\.. 5-E-10)                                                                                                                                            r- i+'ri,1       llts. r!1 ia:J: ] : i


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            account number                                         at the FBI      York
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                                                                               New      flel-d    b?c
                 rC]e    zo                                            }4. MAR
                                                                     Neri Yor         resldes al-
                                                                                       Her celi-
            phone nunber is                      MARINELLO was advised lhe nature      of  the
            interview pertained to Russian nationals who may have attendecj the l{orld
            chess championship in 20i 6 t?-01 6 -r*ccl ' Afr-er being adwi'secl of t-he
            identities of the intervi erving Agents and the nature of the interview,
            l"lARIl{E1,l,O prowi:led the follouing ir:fortrrati':u :

                  MARII\trl,l,o is the Vice tsresident of the Wcrl-d Chess L'ederat,ion. She has
            met a lct oi Russians throug:r her posi-tion. MARII{ELLO has Lraveled:o
            Russia on a nurnber of occasifns for chess-refated events. 'She has never
            met VLADI|{IR ?UIIN but understand.s he is a big fan oi ches.s. MARINEI,LO
            ad,Ced that world chess competitions are very important to Russians in
            general.
               The 2016 WCC consisted of a ptayer flom Russia and a player from
            Norway. The Norwegian von. T:e dates of the event vre:e Noveniber 10, 2076
            ihrough Novendrer 30, 2016. I4ryRINELLO atlended almost every da1' vrith the
            excepticn of maybe one or :w3. There were varicus areas designated for
            spectators and a special area for VIP personnel. The player.s cornpete,J in a
            sound-proof cabin in order tr minimize distractions f::om the crowd'
                The 2016 WCC was attendecl by various cefebriLies and prominent
            buslne.ssmen froin New York. Hellywood actol, WOODY HARRILSON, was present
            for the opening celemonies. iVhen asked i'rhet,her oI not any Russian
            government offi:ial-s were in attendancer I'4ARINELLO slated, "likely,
            because the e-,rent was fuil oF Russians. " I.4AR]NELLO remembered see:-ng the
            Russian press Officer at the event. When asked if that individual was
            DMITRY PESKOV, MARINELLO did not recall tlte                             ved tlre
            individual she inet may    have      by the name                                  b6
                                            Sone
                                                                     that. PUTIN lra sin      b7c
            lphoneticl. Another individual at the event      rl
            Flcricja on that day. MARINELLO believed that statement to be fal-se
            hoilewe::, as she cli-d not see any news coverage of PUTIN being in Fjolida




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   'l'his docilmenl collfiins neilher ttcotttntetxlalions norconclusiotu of the FBl. Il is thc pDperly 0f the FBI flrd is loansd lo lour agcnc] I il iltld its cottlcllts al€ nol
   to bc dirtribrrtcd ortlsidc r ottr agetlt.r                                                                                                                  FBI(19w1278)-2738
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                                                                           interviewed STEVEN B                                  b6
            on 3/30/2018, SA                    ANd IA
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            hllx, Dj,rector at- the Eura.si.a Divi si.on for TRI with a work adcjre.ss af 12.?-5
            Eye Street NW' Suite          n ?dashi ton DC, a telephone nurnber of 202-408-
            9450 and a wol k emai 1of                     a t tris  ace o.f work. Also pr eserrt
            for the i-nterview wa                                                   for
            IRI. After advising NIX and             of  the  identity of the   interviev agent
            and anal"yst, I'lIX provided :he fof lovri-ng irfcrmation:
            Prior to;oinin'3 TRT, I'ITX ha:l heen an attor:ney at a large Iaw firm where
            he practicecl some international 1aw, including overseas election iar^r. NIy
            lrcril wcrkecl irr Ukrairre for iour years as t-ruLsicle 1eg.rl courtsel fur Llre
            Ukrainian Parliament, a position he had obtained through the lnternational
            Associati-on for Election Fouadations.
            l{IX was hired by IRI in ia:e 2000 or January 2001 as Director of the
            irrras i a Division-

            KONSTANTIN KTLIMNIK

            KONSTANTIT{ KILIMNIri was hirej  by IRI in approximately 1998. At the time cf
            I.IIX's hi"ring, KILIMNIK was an employee baseC out of IRI's Moscovr offlce.
            KILIMNIK dj-d iranslation work and general office management in IRI's
            lqlosco\^, offj-ce          along r,*ith o:her different      lhings {NFIi.
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                                                                                                Dateof€rrtn 7l/ O7 /20I1


                 GI]URGE DI}{IIRIOS PAPADOPOJ                                                                   Social
           Security AccounL Number (SSA\)                vras interviewed at the BREEN &
                                                             L2L5t Chicago , IIlinois                                                                  b6
           PUGH lau office,   53 WesL Jackson Street, Suj-te
                                                                                                                                                       b7c
                  P         dur   the in[e ew were FAPADCPOULOSf Attorneys
                                        and                              ent SA     FBI S   -:
                                                                                            UIdI ^f


                            FBI fntelliEence Analyst (IA)
           Special Counsel Attorney AARDN ZELIN.SKYT and Special Counsel Attorney
           ANDREW GOI,DSTEIN.


              At the beginning cf the interview, GOLDSTEIN advised PAPADOPOUIOS that
           the same rules applied for tnis ir:tenrj-ew as they did in the previous
           proffer intervicws on August l-O | 201'7, August 11, 2OL'l t and Septcrnbcr 19,
           2OL7. PAPADOPOULOS was prorriJed a copy of the agreement he signed on the
           dates prior, acknowledgi-ng his unCerstanding of the continued proffer                                                                          b6
           agreernent. PAPADOPOULOS j-nitialed and signed the ag reement for       S                                                                       b7c
           interview. His signature was witnessed and initialed b                Afler
           being aclvi.eect of the nature rf the interwiew and the identifie.s  of   the
           interviewers, PAPADOPOULOS provided the following information:
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            On                at the office ot
                          30th 201-8
                                   John Prdesta for:mer Campaign Chai.rman for: Hj. l. l-ary
            For America, was intenriewed              S of the S   ial Counsel-ts office.
                                                                   Associa l*                                                           b6
            In ai, l*endance rn/ere Atl-orney                                                                                           b?c
            Federal Bureau cf fnvestigation Special Agen
            Sureau of InvesLigaLion Management and Program Analyst
            Assistant Special Counsei l,aurence Rush Atkinscn V, and Assistant, Special
            Corrnse-l ,Tlranni e Rhee - Af te:- rei nq arlrri secl of the i dent i ly nf the
            intervicwing agents, and pureose of the interwiew, Podesta stated the
            -following:
            In the Spring of 2016, Podesta worked ouL of an office in Broo klyn, New
            Tork shared with his assi-st-ants                                      Podesta                                              b6
                                                                                                                                        b?c
            frave.led a l-ot in March 20L6, up to three Lo our t        S a l^tee k . Most of
            ihis trarrel  rJuring  Lhe  campaign was wi t-h Lhe cal of raisin                 the
            Clintcn       al    in    l"ma  states


            Podesta confi-rmed                                                                        which he
            used from 2007 until                the time of the leaks in 2016'


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           Josh Raffel was intervieryed at l-he Special Counsel's Office, located at
           395 E Street SE, gilashington, H, ursuant to a proffer agreement. Raffel
           wa,s ac    anied by iris al,l-orneys            and                                                                                            b6
                        Present for the interview were Speci al Agent (sA)                                                                                b7c
                           5A                          Senior Counselor to the Spe
           Counsel James L. Quarles, and Senior Assistant Special CounseL Andrew
           Goldst-ein. Af:er: being advis*d anrj acknowledginq it- is a crime to.l je t-o
           Lhe FEI in the course of an invest.i-gation,                 Raffel   provi-ded the foilowing
           ilfornratiorr;

           lAgrent note: A1l times refer:nced rn the body of the docr:ment are in
           Cocrdj-nated Universal- Time (JTC) . l

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                                                FEDERAL BUREAU OF INVESTIGATION

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          James Rybicki, identifying information havinq previously been provided,
          was -int-er:vj.ewecJ via Lync pu:'sr:ant to docurnents r:ecower:ed from former FBI
          Director James Comey. Rybicki provided lhe folfoving information!
          On Wecnesclay, ,Ju1y 26, 2Q!7 , Comey called the front of fice telephone
          nunber and left a telephone   nessage for  Rybicki. CJn the same day, Rybi-clci
          reLurned Coney's call either from his work desk or ceLl phone. Corney lold
          Rybicki, whil-e packi-nq for an upcoming move, he found a folder vilh
          government clocuments. Corney agreed to p:'ovide the clocuments the next day
          when individuals from FBI Finance & Facitities Diwision (E"F'D) were
          returning Comey' s personal preperty.
          On Thursday, JuLy Zl, 2OL1 | Jnknown personnel from f'FD retrieved one blue
          "sLandard" folder from Comey at his residence. The folder contai-ned a one
          paqe email-, a one page chart with handwritten notes on the back and cj-vil
          lit-igat-ion paperwork for Comey. on t-he same clay,           ass i gned t-o                                                                     b6
                                                                                                                                                            b7c
          E'FD, gave the above l-isted items to Rybicki at his office. Rybicki
          requested guidance frorn FBf Acting Director Andrew McCabe later thai
          evening on hov/ to handle the documents. Mccabe requested that Comey's
          civil litigation paperwork g: to the FBfts Office of General- Counsel {OGCi
          and the remaining i-tems be Pr ovided to FBIrs Records Mana                                              nt Divislon.
          Rybicki sent the civil litigati-on papentork to                                                            the Acting
          Deputy General Counsel at OGC-

          On either Thursday, JuIy 27, 2A[7 or Friday, .]uly 28, 2OL7' Rybicki spoke
          with David Bowdich (AssociatP Deputy Di:ector) regardi ng the r                                                                                   b6
          documents. on Friday at appr)ximately 1:17 pm, Rybicki                                                                                            b?c
          assigned to EFD. On the follewing MondaY, ,Iuly 31r 20l-7       trieved the
          documents from RYbicki.

                                                                   Administrntive:

          The documents retrieved from Comey are being maintaj-ned in the custody of
          ihe Records Management Division.


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                                                     Washington, iigtr:ct              of Colur-nbla, United states \,
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                                             FEDERAL BUREAU OF INVESTIGATION


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                 PAUL SAI)NDERS' Executive Director   for CENTER FOR THE NATTONAL INTEREST
             (CNI), was interviewed  pursuant  tc   a proffer  agreement at Patriots Plaza
             IA, 395 E SLreel- 5V0, Washingt-on, DC 205'1 6 by Special Ag ent- (sA)
                  I SA                       lnt€lfigence Anafyst ( IA)
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                         and Assistant Sp:cia f Counsel (ASC) .Aaron Zelinsk
            dL     an      SAUNDERS were CNI's outside counsel attorn
                                                                                 Af t-er be j ntf,
            advised of the idenLities of the interwiewing officials     and after
            rewicw|ng tlre proffer dgl:een=ntr in ttre preseltce of his attcrtieys,
            SAU\IIIERS executeci the proffer agreement, whereupon he provided the
            following inforinat ion :
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                                MARY SHUGART                              date of bi-rlh (DoB)
                                                         cell telephone                     email                                            b6
                        office tel           ho
                                                                                                                                             b7c
                                           was inLerviewed al- Lhe           cial Counsel's Office,                                          b?E
             AS  ngton, D.C         o  present   were                      and
            from DEBEVOISE & PLIMPTON, 919 Third Avenue, New York, New Yor
            senior Assistant Special Counsel Jeannie Rhee; Assista nt                ci.al Counsel
            L- Rr:sh At-k j.nson; ancj Silpervi sory Tnt"e.l 1 i gence Ana l yst-
            Afler being adwised of the iCentity of the intervj-ewing                    agenl and the
            Irature of tire ir:tenrievr, SHUGART prorrided tlre followir:g              irrfornratlonl
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            CATHERINE MARIE VARGAS,                                     was interviewed c;n April 4,                                           b6
                                                                                                                                               b?c
            2OIB at the Specla.I Counse    SO     ce. Present for the interview
            were Senior Assisr-ant Special Counsel Andrew Goldstein Senior
            AssisLant Specia] Counsel Zainab              ci aI   en
                       nd Tntel l igence A nal ^,                    VARGAS was
            accompanle d by her attorney,
                                                                                                                            per DoJ,/oIP
                                                                                                                                        b6
                                                                                                                                        b7c

                                                                                                                            per DO,J/OIP
                                                                                                                                      b5
                                                                                                                                      ble

                                                                                                                    b5 per DoJloIP

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                                                                                                                            per DO,t/oIP


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                                            FEDERAL BUREAU OF INVESTIGATION


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            (U) on or about 06/0L/2A|7 Special Agent                                                   and S
                                                                                                                                b6
            Agent             intervieweC Yuva] Weber                        Weber )
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                                                         Jpfrone                         enai..l




             (U) The interview was eslablished through a pirone call earlier in the day
            in whi ch             identified himself as "with the FBI " Upon meeLing
            Weber:,             int,roducej himself and SA      by f i-rst ano ]ast name
                                                                                                                                b5
                                                                                                                                b7c




            through this earJ.y po rti-on of the interriew, SA            referred to
            himseff as an FBf Agent, and Weber obserwed SA                 badge. Later in
            ifle j-nterviewf Weber stated that he  originally  thought t.hat SA
                                                                                                                                b6
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                                                                        I
                                                                            SA            stated that he had
                  F-B-f   on                     ne an  likcly caus ed the confusion.
                                                                S l.t
            AdCitionally, 5A           adCed that they did not lntend to utilize a ruse
            or to cause  confusion, it was just coincidentaf lhat Weber misheard SA
                                    the phone.
            {U) During the inLerview Weber provided the fo}lowing information:



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   ln\,eslig0tioil on    06/a1l2Ol7         ar   Phone
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           tu) on L/25/2018 DoV ZAKHEIM, Vice Chairman of the Board for the Center
           for the National Interest (C:{I) was interwiewed b Special Agent t--__ l
                        Intelligence Analysl-                        an<J Assisl-anb Special                                                                  b6
                                                                                                                                                              b7c
           Counse.l-s Andrew Gol-dstein anl Aaron Zelinsky at the office of Special
           Counsel, 395 E Street SW, W            ton DC2 0024. Acconpanying ZA,KHEfM were
           attorneys                    and                 from Baker Hostetler, LIP. After
           hreing aclvi.secj of t-he icJentity of the jnterviewing  ofiicjals ancl the natr:re
           of the interview, ZAKHETM prevideci the follcwing informaLion:
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           (U) He                Kissin             r is the Hlnorary Chairrnan of the Boar'C of CNI                                 bE per DoJ/aIF




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  to bc diilrfuuled orrtside ;-our r4lencl .                                                                                FBI(1ew1278)-295q
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           JARED COREY KUSHNER, dale of birlh                           {DOB)                                 was
           interviewed at the Special Counsel's Off ce {SCO) on Apr:l lI ,
           2018. Also resent duri   the interview were KUSHNERfs attorne y5
                                                                                         from Norton Rose
           !-ulbright US LLP, Senior Asslstant Specral CounseL (SASC) Zainab
           Ahmad, SASC Andrel Goldsteitr, FBI S                           cial Agent {SAi                                              b6
                   and FtsI SA                        Ihe interview began at                                                           b7c
           aFprloximately 9:15 a.m. ard concluded at approxi.malely 5:45 p.m.
           Water was provided to KUSENER and his three altorneys. Multiple 5-
           l0 miirute breaks were laken. One 30 minute lunch break was taken.
           After being acjvised of tire rdentity of lhe intervierving aqents,
           KUSHNER voiuntarily                      proviced the fol-lcwing information:
                                                                                                                                 Per DO.I/OIP




                                                                                                                          b5 Per DoJ,/oIP




                                                                                                                         b5 Per DOJIOIp




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               Richard "Rick" M. GERSOII, date of birth (DOB)                     Social                                                         b6
           Security Account Number (SS.L\)                      Address                                                                          b7c
                        was ir)l-e-rviewed a1- l-tre Special CE:unsef ts Office, Washirrgl*on, D.
           C. Present representing GtsRSON were                             and
           of Paul Hastings, tLP. The intervievring team was FBI Special Agent
                                        FBT fntelligence Analyst                           and
           A.ssj,stant- Special Cor:nse.l Aaron Ze).insky. After: being acjvi.secl of t,he
           identity of the interviewinE agent and the nature of the interview, GERSON
           prowided tire followir-ig infor;nati.rn:
                    GURSON was aware of
                                    KirilL LlMlTRlgv's lwo roles:                    bE Pe:r DOJ,/OIP
                                                             being tas      v
           Vladimir PUTIl.l to develop a reconciliation   Ian. DMITRIEV told GERSON that
           he was r orting directly ;o PUTIIi

                    GE[{.SON' s     discussions     rvi:h D,IITRIBV were in his own ca acit                          b5 Psr Dolt/orP




                                                     tasked b)t the transj-tion team and he worked on
                                      GERSON v,J*asn' I
           lhe reconciliation                plan on his own
                                                                                                                    b5 Per Do.tlorP




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                                            clate of bi rth ( DOB)
                  Ri char:ci "Ri ck" M. GERSOI'I ,                              Soci a1                                                        b6
                                                                         of                                                                    b7c
            Security Account Number   (Ss.L\) of                 Address
                          wds inLerv:elel    aL Ltte Speci.rl Ccunsel's O,ffice, VlashingLol,
            J.C. Fresent representing GERScN were                         and
                     of Paul Hastin       LLP. The  j-nterviewing  team were  FBI     cial
            Agent-s                                                           a:ld
            IRT Tntel. 1 i gence Anal.Yst-                      ancl Assi st-an:- Special Counsel.s
            Jeannie Rhee, Aaron Zelins;:y, and Zainab Ahnad. After being adviseci of the
            iclerrtiLies of tl-rc irrtsrwi ervi:rg ageuts atrcl t}'rc traturc of Llre itrterview,
            GERSOh* provldecl the f o.l, l-owin3 1nf c'rmation:

                                                                                                                                        Per DoJloIP


               Jarecl KUSHI(ER has been a frienc of GERSOIII's                           b5 Per DOJ/OrP
            When KUSHI.IER became inr.rol-ved in the Trump  campaign, the rfr    ndsh aP
            continued. GERSON woulcl occasionally burnp into I{USIINER ancl they wou ld tal !:
            abcut the campai-gn where:n I{JSHbIER ','/ould upCate GERSON as a friend.

                                                                                                GERSON      e            sei        a
            Iunch with                                                  Tony BI,AIR




                                                                                                                                    b5 Per DoJ/oTP




                                           meeti            with ;he UAE represest3tives                                                Per DO{'/OIP




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                                                                                            da e cf birth (DOB)                                                              b6
                   HENRY OBO{YANSKY. aka HEI'IRY GREENBERG                                                                                                                   b7c
             social- security account number                                                   was interviewed at the SPecial
             C<.i se1's O-[.Cice Or-- F al ta-l                                   Waslril    l-on                            :-esides
             ^+
             AL
                                                                                                                             Present
             du rl-    the i-nrerview was FBI Special Agent (SA)                          FB ISA

                                      and Assoliate Special-    Counsel Aaron
             Zel'i n.,oky- OKNYANSI{Y was ad:r'i sed the int-erview was eni-jrely voltrnt-ary ancl
             :hat he coutcl discontinue it at any time. OKNYINSKY rvas further advised
             :lrat lnterrti,rtralJ-y provicling fa.l->e statetletrts to FtsI Ageirt> was a
             violaticn    o: federal law. After being advised cf the idertity          of the
             interviewing Agenls and lhe nature         of  the  inlervier*, O-$IYANSKY provided
             '-he fcflovring information:
                                                                                                                                                           b6
                                                                                                                                                           b?A
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                                                                                                                                                           b5
                   OKIiYANSKY arran                     d the me3ti          with STONB in                                                                     7A
             2016.                                                                                                                                             7c
                                                            CAPUT) a                   ied STONE at the meet           and
                           ecl an introdr:ction



                                                    Ukrainian friend, ALIXEI RASIIJ, who
                   OISiyFNSKy \rras accompanied by his
             offered STONE damaging j-nfornation on HILLARY CLINTOII. R{ISIN for::rer1y
             workei for Clinton and was aLlegecly in possessic,n of financial staLements
             which clemonst::ated her j-nvolvement in money launclering a:tivities with
             RASINrs companies. S?OI'{E ing-lired about the amount of financial
             nisappropriations relatecl .o CLINTON arrd askeci if it wds it) tlie atirourib nf
             mill-ic,ns. RASIN relayed that it was rather somewhere ill the amount of
             hundreds of thousands. S?OI{E ultimatefy refuted the offer and stated Lhat
             he diC not believe DONALD TRJMP wculd pav for cpposition resea1ch
             i nformation. The meeting then concl.rlcled .shor:tly thereafter-




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                   EXHIBIT B
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                    EXHIBIT C
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                                              FEDERAL BUREAU OF INVESTIGATION


                                                                                                                 Date of entry      03/22/2018


           RICHARD HANNAH DAVIS (DAVIS) was i n t e rvi ewe d a t t h e Office of Special
           counsel , Washington , DC on Febraury 8 , 2018. Present for the duration of
           the intervi ew were FBI Spec i al Agen t ..                       ,--------,!
                                                                           Foren sic Accoun tant                                                                b6
        I                         I
                             a nd Sp ecia l Counse l Attorneys Kyl e Free n y and Greg Andres.                                                                  b7C
           Also present was DAVIS ' s a ttorneys                                            of the
           law firm Pe trillo , Kl i n & Boxer LLP .      Aft e r b e ing advised of t h e
           ident i tie s of the intervi e wing part i e s and the nature of the inte rvie w,
           DAVIS p r ovi ded the fo llowing information :

           DAVIS was advised his participation in the interview was voluntary . DAVIS
           was a lso advised he needed to be truthful in his answers and lying to a
           f e deral a gen t could cons t itut e a fede ral crime. DAVIS acknowledged h i s
           rights and obligations.

           Background
             _____________________________________
           .._                                                                                                                       ___,
                                                                                                                                            After
           being inv olved i n campaigns in Alab ama and Mi ssissip pi , he got more
           i nvolved in poli t i cs and came to Washington , DC . He became invo l ved wi th
           the College Repub lican National Committee during 1980 when Reagan was
           nominated . He wor ke d wi t h LEE ATWATER org anizing small campaig ns for                                                                          b6
           Reagan . He e nd e d up wo rking as White House staff . DAVIS worked for the                                                                         b7C

           Depa r t men t o f He a lth and Human Se rvice s in a r o l e a s White Hous e Liaison
           and was involved i n speech wr it i ng . When he left the admi nistrat i o n, h e
           wor ked with .__ _ _ _ _ _ _ _ _ _~ and PAUL MANAFORT (MANAFORT) as
           consultant s managing a senate campa i g n in Virgin ia.

           Du ring the Re a gan admi nistr ation , DAVI S wor k e d in t h e Departme n t of
           Int erior as wel l as t he Commerce Department . DAVIS worked for Thomas
           Barrack (BARRACK) wher e he was i ntroduced to MANAFORT .

           He worked for ATWATER again during Reagan' s 1 984 reelection campaign.
           Aft e r war ds , he d i d dome s t i c po l i cy work fo r Reag an . In 1987 , h e left and
           j oined BLACK , MANAFORT , STONE AND KELLY . This was DAVIS ' s firs t time
           wor k ing with MANAFORT , but he had known him pre v i ous l y . He started as an
           as s ociate i n t h e firm a nd then was p romot ed t o j u nior p art n er. The f i rm
           was bi-part i san. In t h e ear l y 1990s , BLACK , MANAFORT , STONE AND KELLY was




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   by - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - - - -
  This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
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          sold to Burson-Marstellar. He stayed for about fo u r years before he left
          t he fi r m in t h e mi d-1990s . He s e t up a n e w firm, DAVI S , MANAFORT FREEDMAN .
          ROGER STONE also worke d at the n e w company . Th i s evolved into DAVIS
          MANAFORT INC . Around the e nd of the 1990s, DAVIS MANAFORT was reall y j u st
          MANAFORT and DAVIS and t h ey most l y did for e i g n consul ting a s t h ere wa s
          more money invo lved in foreign consulting . When needed , they hired
          co n tract ors . DAVIS wanted the company t o stay smal l . He did not l ike t h e
          atmosphere of large firms and managing people . The firm d id some corporat e
          work domestically. Most of this was DAVIS ' S. There was no paid political
          camp a ign work domest ically. MANAFORT was not involved wit h any domest ic
          work , only foreign work .

          The firm' s for e ign f ootp rint went way bac k to BLACK, MANAFORT , STONE AND
          KELLY . MANAFORT had done work in Africa and the Ph ilipp i n es in t he past .
          DAVIS d i d not get invo l ved wi th foreign wor k unt il later . In the late
          1980s , DAVIS t ook his first int ernational trip to Arge nt ina. MANAFORT was
          working on the presidential campaign there. DAVIS went back occasionally
          for poli t ical wor k . MANAFORT did most of the fo r eign wor k for the firm .
          ATWATER a lso had foreig n work , but he was in and out of U.S.
          administration s . STONE also did some foreign work .

          DAVI S MANAFORT En tities

          DAVIS MANAFORT , I NC was DAVIS and MANAFORT ' s f irst ent i t y . It was a C
          Corp . DAVIS MANAFORT PARTNERS, I NC . (DMP) was fo rmed l ater . DAVIS coul d
          not re call why they needed t he partne rs h i p structu re . DAVIS was not
          involved with DMP I NTERNAT I ONAL LLC.

          JOHN HANNAH

          JOHN HANNAH was a pre - DMP e n tity . It was c r eated when DAVIS , MANAFORT ,
         I     !a n d others we r e buying vacat i o n homes i n Wi n t e rgreen, VA .                               b6
          Originally , DAVI S and MANAFORT purchased a home together , b u t then                                    b 7C
          MANAFORT bought a separ ate p l ace a n d DAVIS had to enli st !           ! to help pay
          the mortgage on the place he and MANAFORT had o r iginal ly purchased
          together.

          JOHN HANNAH began buyi ng raw land on the moun tain from deve l oper s . The
          entity was used as an investment vehicl e particul arly for real estate
          purchases . I n itial ly , i t was just Wintergree n propert i es, b u t the y
          expanded into flipping p roperties , buying and selling five or six
          p r operti es . When they had excess capital f r om DMP, they put i t i nto J OHN
          HANNAH and invested it . Somet imes , excess revenue was sen t directly t o t he
          JOHN HANNAH account.

          Trump To wer Purc hase
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            The Trump Tower condo purchase was after they cas h ed out of Wintergreen .
            MANAFORT fou nd the condo and bought it without DAVIS seei ng i t . The condo
            was used f or b usin ess . MANAFORT used the cond o more of t e n . Th e y used t h e
            co ndo for personal t rips as well . MANAFORT han dled t he real est ate
            t r a n s a ctions . The condo wa s p urchas e d with inc ome r e c e ive d f r om DMP .

            MCCAIN Campaign

            Around 1999 t o 2000 , DAVIS b e g an his relat io nship with MCCAI N and j oined
            his p res ide n t i a l camp a i g n. DAVIS t o o k a l e ave of a b s e nce f rom DAVIS
            MANAFORT . DAVIS ' s r e lationship with MCCAIN has cont inued t h r ough t h e
            pre s e nt . He r e turned to DAVI S MANAFORT in early 2 0 00 a fte r t he prima rie s
            and worke d there unti l 2006 whe n he r e t u rne d to wor k for MCCAIN ' s second
            p resid en t ial campaign . DAVIS r emai ned working with MCCAIN u ntil he l ost
            t h e election in November 2 008 . When h e was don e wi th the MCCAIN campai gn ,
            he me t with MANAFORT and t h ey d e cide d to p ar t wa ys a nd so b e g an the
            u nwinding DMP .

            PEGASUS


            After part i ng with MANAFORT , DAVI S r estarted his r elation shi p wi th Crai g                     b6
            Cogut at Pegasus Capt ial and began working for them as a partner around                               b7C

           I           ! He is st il l with them as a partner . There are fo u r part ners .
            DAVIS is not a financial profession a l , but functions as an operating
            part ner with a network o f consultan ts , adv isors , and research ers. DAVI S is
            i nvolved wi th l




            DAVIS was int roduced to Peg asus b y                                     He was first                 b6
            int roduced to                                           was a New Yor k fi n ance                     b7C
            g uy.                                                               did not h ave
            anyt h i ng in common e xcept their share d inter e st in e nv ironme n t al issue s .
            DAVIS had p r evio u s ly do n e e nvironmental defense wor k .

            I n 2009 , DAVIS and.._         __,....__
                                                 __, regarding t he need for investing funds i n
                                          t a l ked
            t h e envi ronmen tal space .______ i tch ed Pegasus as fund for s u stainable
                                                                                                                   b6
                                                                                                                   b7C
            mar kets , and DAVI S decid ed to join the firm .

            DAVIS d i d some previous work fo r Peqasus whi ch involved heloi no with t h e                        b6
                                                                                                                   b7C




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                                                                                                                     b6
                                                                                                                     b7C




          DAVIS 's transition from politics to pr ivate equity was d i fficult . DAVIS
          was looking f o r a career change . He did not want to work in Washington, DC
          or with MANAFORT anymore . The MCCAIN campaign was b ruising for DAVIS.
          There were attacks on l obbyists . DAVIS was attacked by the Obama campaign
          for d oing work as a lobbyist . DAVIS did not l i ke being in the spotl igh t .

          There were moments during the MCCAIN campa i gn when MANAFORT wanted to be
          involved but DAVIS said no because of MANAFORT ' s background. MANAFORT ' s
          e go was bruised badly because h e could not get into t he MCCAIN campaign .
          When DAVIS got out o f campai gn, he l earned that MANAFORT's only cli ent was
          the Party of Regions and Victor Yanukovych . That was not appeal ing to
          DAVIS . MANAFORT only wanted to do foreign wor k. Th ere was tension b etween
          DAVIS and MANAFORT after the campaign .

          Pr ior to the MCCAIN campaign, DAVIS had a close r e l at i o nship with
          MANAFORT . They spent a lot of time together, invested together a n d their
          families were close . After Blac k , MANAFORT Stone and Kell y was bought out ,
          Bl ack and Kelly s t ayed with the firm, b ut MANAFORT, DAVIS, and STONE left
          to start the ir new company.

          Party of Regions/Ukraine Work

          When as ked why he did not want to par t icipate in Party of Regions
          /Yanukovych wor k, DAVIS said h e wan ted a change of venue . He wanted t o get
          out o f politics. He could not reconc ile being a MCCAIN guy and working for
          Yanukovych . MCCAIN had always b ee n Russia ' s worst enemy i n t h e U. S . Senate
          and Ya nukovych was Russia/ PUTIN ' s puppet.

          MANAFORT was k nee d eep i n Yanukovych's r esurrect i on .

          Other MANAFORT-DAVIS entities

          DAVIS could not recall the entity Vernon View Partners .~!_ _ _ _ _ _ ___,                                 b6
                                                                                                                     b7C
                                               so he said i t could have been an
          entity that DAVIS and MANAFORT shared .

          3eDC was a company organized by MANAFORT and DAVIS around the end of 2005
          or early 2006. They realized the Republican Party had done a poo r job in

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            the intelligen ce and dat a g atheri ng business . There was l i t t le inves tment
            f r om the Rep u b lican Party in infr astructure , such as dat a gathe ring and
            t he computerization of campaigns. MANAFORT and DAVIS invest ed in d ata and
            computerization, and social media . The y hired a f e w p e o p l e, and the MCCAIN
            camp a ign became t h e company's fir s t c l i ent. 3eDC b ecame a vendor f or t h e
            campaign involved with voter data and internet adver t ising. The con nection
            to DAVIS got press atte nt io n because of DAVIS's position with the campaign
            as t he campaign chairman . As t he chairman , DAVIS had an o v erarchi ng
            position r unning the campaign and was more involved with strategy ,
            recrui ting, a n d fundraising . He was n o t invo l ved in d ay to d a y op e r ations .

            3eDC was let g o when the campaign was ultimately shut down in 2008 . When
            asked i f 3eDC was a way to mone t i ze his p os i tion on the campaign , DAVIS
            said yes . It was not unusual for th i s type of monetizi ng . DAV I S was not
            r espons i ble for h i ring 3eDC by MCCAIN . He p r esented t h e company . There was
            no comparable firms . I t was a rev olutionary i d ea .

            3eDC d i d some work in Virgini a f or l egi s l at i ve races . I n t h e end 3eDC was
            not a profitab l e, and DAVIS ended up losing mone y on 3eDC.

            Ther e was no r e lationship b e tween 3eDC and J OHN HANNAH ; however , J OHN
            HANNAH could hav e inv es t ed in 3eDC , but DAVIS could no t recal l .

                                                                                                                             b6
                                                                                                                             b7C
            In t h e early 2000s , MANAFORT
                                                                         MANAFORT e mbarked u on outside
            p r ojects . He had a movie company
                                                             ------------------
                                                       He a lways had the b i ggest h ouse a n d
            fa nc i es t c ar , a n d h ad e xpensive suits . Working with MANAFORT was
            stressful . He had an aggressive approach, but t hat was MANAFORT, he had an
            edg e, and i t wo r ked .

            I n the ear ly 2000s , DAVIS 's und erstanding was that MANAFORT ' s only source
            of income was DAVI S MANAFORT .

           ..__ _ _ ____.! hand l ed DAVIS MANAFORT .__ _ _ _ _ _ _ _ _ _ __, of KWC was also                                b6
            involved until DAVIS left.                                                                                       b 7C


            LOAV Ltd was another one of MANAFORT 's entit i es. DAVIS was not inv olved
            with the company . I t was used for MANAFORT ' s side p ro jects.      When asked
            i f DAVIS knew if money transferred between LOAV and JOHN HANNAH , DAVIS
            said i t migh t have since LOAV was MANAFORT"s i nves t me n t veh i cle . There
            could have been t rans fers i n t o and o ut o f e ither JOHN HANNAH or DMP or
            both companies . Funds were comingled. DAVIS assumed DMP funds were coming
            from other sources . MANAFORT never shared where money was comi ng from .

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                                                                                                                        b6
             When as ked if MANAFORT borrowed money from DAVIS , he said no , b ut MANAFORT                             b7C
             took mor e t han h i s s hare f rom t he company . DAVIS would usually f ind out
             from !.__ _ _ _ ___,

         I                                         was MANAFORT's buddy _!_ _ _ _ _ __                                     b6
         I                                                     ! tte seemed c lose with MANAFORT                           b7C
            and go t MANAFORT into i n ternational ac tivities .              I           I
                                                                                 g ot MANAFORT into
            fa ncy sui t s a nd hig h living. When asked wh y h e thought !             ! was giving

            pe o ple . For example,
                                     ..._       __________________________
            MANAFORT money, DAVIS said it was a rumor that DAVIS had heard from other
                                                                                                ___.
         !                  !
                           DAVIS did not k now the nature of MANAFORT ' s business or
            investments with !             ! He only knew ..._            ______________     _.
          ..._____!b e fore DAVIS b ecame a partner with MANAFORT .

           DAVIS first met MANAFORT around 1977 to 1 978 when he was chairman for the
           College Repub lic National Committee in Alaba ma . !                                              !             b6
                                                                                                                           b7C
                                                  !he met you ng republ icans , connected with MANAFORT ,
          ~A_T_W
               _A
                _ T_E_R_,_ a_n_d__
                                 S_
                                  T_O_N_E_ t_h_r_.ough !          ! when he went to Memphi s on a WHIP
             for Young Republ i cans to l obby. STONE was the chairman of the Young
             Republ icans . MANAFORT was r unning phone banks . In 198 1 or 1982, h e go t
             c l o ser t o MANAFORT during the Virginia senate rate .

             Rick Gates           (GATES)


             GATES wo r ked for BLACK, MANAFORT , STONE , AND KELLY . GATES worked as a
             dr iver . DAVIS did not k now how he got hired ~                                                          b6
             l otterv comnan v was a client .I            r------------t-----------------'I                            b7A
                                                                                                                       b 7C

         ..._ _____              ___.l and MANAFORT wer e c l ose as we ll g o ing bac k to t h e earl y d ays
             of M.ANAFO~T ' s poli t i c al li fe.

             GATES l eftl                                      MANAFORT was looking t o hire
             b ecaus e DAVIS a nd !   ! were l e a v i ng. MANAFORT hired GATES. DAVI S and                                b6
             GATES knew each other but never r eally worked t o gether . The only                                          b7C
             overlapped for a couple of months . Over the yea rs , DAVI S has communicat ed
             with GAT ES for schedu ling , but he always messed it up .       GATES was not
             very organized.

             DAVIS and MANAFORT invested in Washington Natio nal s t ickets together ,
                                                                                                                        b6
             which theT kep t until l ast year when MANAFORT dropped out a nd d i d not pay                             b7C
             the bi ll. _                                    ! MANAFORT did not not i fy
             DAVIS he was dropping out, he j ust didn' t pay t he bil l.

             Foreign Work



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              Montenegro was DAVIS's last foreign gig. Montenegro was the last bit of
              Yugoslavia under Serbian rule. At the time, DAVIS was working withC7                                                 b6

           ~-------------~1             in Eastern Euriope. ~I___________________,
          ~ - - - - - - - - - - - - - - DERIPASKA was the largest business owner in
                                                                                                                                   b7C


          Montenegro. He owned power and aluminum plants.

          [                                                                             DERIPASKA,        I                        b6
          l                 ! wa nt ed t o inves t in Mo nt e negro . They bo u g ht a n avy b,_      a_s_e_ o_n--t-he             b7C
            coas t a n d co nve rt ed it t o s upe r yac ht po rt . They asked DAVI S t o ge t
            invo l ved in Mo nt e n egr o ' s indepe n de n ce r e f e r e n d um . DAVI S a n d MANAFORT
            wo r ked o n th e e l ec ti o n a n d r e f e r e n d um campa i g n whi c h occurr ed in ea rl y
            2006 . DAVI S was mo r e invo l ved tha n MANAFORT.             I              ! was in Eas t e rn
            Europe a t th e time .!                    I  hired DAVI S t o be a po liti ca l "ri sk
            ad jus t e r . " He wa nt ed info rma ti o n o n fir s t ge n e r a ti o n e l ec ti o n co untri es .
          I                 ! was mak ing inves tme nt s in Eas t e rn Eur ope a n d wa nt ed DAVI S t o
            mee t with po liti c i a n s a n d co r po r a t e h eads a n d l ook a t asse t s .

              Thi s wo r k occurr ed a r ound 200 4 t o 2006 .!                                                                    b6
                                                                                                                                   b7A
              DAVI S some times me t with po liti c i a n s a n d some times t ook s urveys . DAVI S                               b7C
              made the p h o n e ca ll s , se t u p th e mee tings , gave advi ce , d i d some r esear c h
              o n s t ab ilit y a n d gove rnme nt, a n d po liti ca l c lima t e .!           !firm in
              Lo n do n was a c li e nt o f DMP.

              DAVI S me t _!______!v i a a fri e n d in ear l y 200 4. DAVI S co ul d n o t r eca ll                               b6
              wh o th e fri e n d was. The fri e n d h ad ca ll ed DAVI S a n d sa i d h e h ad a c li e nt                        b7C

              wh o wa nt ed t o mee t him in New Yo r k the n ex t da y. DAVI S we nt t o Atti c u s
              Cap it a l, a h edge fun d in New Yo r k , a n d me tl               l wh o exp l a ined wh a t h e
              wa nt ed. !            ! sa i d h e h ad f o un d DAVI S o n Goog l e. DAVI S s t a rt ed
              wo r k ing withl               l o ne mo nth l a t e r.

              DAVI S fir s t me t DE RIPASKA in Lo n do n a t lun c h. DAVI S be li eved it was a r o un d
              th e e n d o f 200 4 . !          ! introdu ced DERIPASKA as hi s fri e n d a n d boar d                             b6
              membe r do ing b u s iness t oge the r in Russ i a a n d Eas t e rn Europe . DERIPASKA                               b7C
              seemed t o h ave a n int e r es ting backg r ound . DAVI S l earned DERIPASKA was

                        DE RIPASKA was a n a luminum mag n a t e , b i gge r th a n Al coa . He was o n
          -------,,---
           a n acqui s iti o n b inge .

          DAVI S mos tl y me t DERIPASKA a t mee tings in Moscow. He me t with him abo ut
          f o ur times . DERIPASKA ' s b u s iness f ocu s was a luminum. He bo u ght a luminum
          p l a nt s a ll ove r th e wo rl d.     I        ! was inves tin g in va ri ou s r ea l                                  b6
          es t a t e . On e exampl e was a n o l d Bul ga ri a n tr a in s t a ti o n. DERIPASKA a n d                             b7C
          _______!had some s h a r ed b u s iness , inc lud ing powe r compani es .


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           MANAFORT was not involved with!                    !and DERIPASKA until late 2005 or                            b6
           2006. DAVIS introduced DERIPASKA to MANAFORT. They did some work together.                                      b7C
           DERIPASKA became a client of DMP. They were paid by for work in
           Montenegro. DAVIS was not clear how they divided up payments. He knew
           wires were coming in. For example, they would send an invoice to
         !            !or DERIPASKA, and then a wire would come in from overseas to a
           DMP acco unt in US , a n d they h ad t o fi g ur e out fr om wh om.

          DAVI S sa i d the r e was a n acco unt se t up in th e Seych e ll es ma n y yea r s
          ea rli e r, b ut it was s hut down a n d they we r e n o t u s ing it.

          In Mo nt e negr o , they we r e jus t p a i d f o r the indepe n de n ce r e f e r e n dum. They               b6
          we r e pa i d by !                    ! a n d DE RIPASKA.                                                      b7C

          In Geo r g i a ,!             !o ri g ina ll y wa nt ed t o l ook a t asse t s a n d assess
           o liti ca l e nv iro nme nt a n d ab ilit t o inves t.
        L - - - - - , - - - - - - - - , - - - - - - - r - - - - - - , _ , __ _.....JDAVI S go t t o kn ow the
          Pr es i de nt o f Geo r g i a wh o wa nt ed ________ inves tme nt. The r e was minima l
          comme r c i a l g r owth in th e co untr y a n d s till Russ i a n influe n ce a n d
                                                                                                   -----                 b6
                                                                                                                         b7C


        1-------------' The Pr es i de nt h ad a_______        __._______________. . ,.
                                                 n i ss u e with
                                e n ded u            it




                                                                                                                         b6
                                                                                                                         b7A
                                                                                                                         b7C




                                                                                          DAVI S d i d n o t               b6
          do a n y po liti ca l co n s ulting wo r k in Geo r g i a . DAVI S go t t o kn ow th e ma n y                    b7C
          p eop l e in th e Geo r g i a n gove rnme nt wh o was made u p mos tl y o f Geo r g i a ex -
          expa t s , b ut h e d i d n o t wo r k o n camp a i g n th e r e.

          DAVI S d i d n o t wo r k in Uzbek i s t a n, b ut h e be li eved MANAFORT wo r ked in o n e
          o f the " s t a n s. " DAVI S d i d n o t thin k DMP wo r ked in th e " s t a n s. " They o nl y
          worked in Mo nt e n egro a n d Ukr a ine .

          DAVI S ' s wo r k in th e Ukr a ine began p ri o r t o the 2006 e l ecti o n .         ______..                     b6
                                                                                                                              b7C
          a n d DAVI S fl y t o Ki ev f o r the e l ecti o n o f Ya nu kovych ve r s u s Yu sch e n ko .
          They h ad mee tings with peop l e assoc i a t ed with KUCHMA, the ex i s tin g

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              resident of Ukraine .                                                                                 b6
                                         so he wanted t o get a se nse of t he electio n . Hi s                     b7C
            p e o p l e were f riends of Kuchma .

            DAVIS learned about the split d y namic between the east a nd t h e west in
            Ukrainian politics . DAVIS read through surveys and polls and got a sense
            for what was h a p pening i n elections. There was a n assumption t hat
            YANUKOVYCH would g et the job and be KUCHMA' s successor . KUCHMA was l e a v i ng
            office, but he was coy regarding his support for YANUKOVYCH . At the time,
            the Ukraini a n economy was doi ng well and t he country was mo r e uni f i e d .
            DAVIS met with l egisl ators who were me mbe rs o f the Party of Regions . DAVIS '
            s assessment was that it " s melled bad . " People wanted change . That was
            c lea r f r om polli ng da ta . Eve r yone was saying YANUKOVYCH was going to wi n .
            DAVIS didn' t thi n k so because people wanted change . DAVIS told ~!_ _ _ ____,                        b6
            t hat there was i nstabi l ity and YANUKOVYCH may not win . DAVIS left without                          b7C
            plans to do future work in Ukraine . After DAVIS left Kiev, around the time
            of the election , there were new polls , and !                  ! was alarmed by t h e
            results . DAVIS sent !                      ! to Ukrai ne to moni t or the elect ions .
            Th is was when the Orange Revolution happened . YANUKOVYCH c laimed t he win ,
            but t he validity of the e l ections were cha llenged and the results
            overturned .

            DAVIS did not do any more work i n Ukraine and never we nt back to Ukraine .
            Beginning in l ate 2006 , DAVI S started wor king with MCCAIN more. MANAFORT
            got together with !                                 !
                                                   a nd DERIPASKA and was introduced to                             b6
                                                                                                                    b7C
            Ri nat AKHMETOV (AHKMETOV) . This was the beginning of DMP ' s relation ship
            with AHKMETOV .

            DAVIS said the work for AHKMETOV was a different kind of wo r k                  meanina not
            political consulting work.               I                                                               b4




            When as ke d how DMP got i nv o l ved in pol i tical work for the Party of
            Regions , DAVIS stated that AHKMETOV funded the Party of Regions. DMP got
            i nvolved in political work for the Party of Regions b r a nching from wo r k
            done fo r AHKMETOV . Afte r the Orange Re volut i o n, t he Pa rty of Regio ns was
            not really active or doing anything. AHKMETOV and MANAFORT orchestrated a
            Party of Regions come back . Dur i ng t h is time period, DAVI S was do ing
            Mo ntenegro a nd MCCAIN work, and was not in the Ukraine .

            Ko nstant in Kilimnik

           The first time that DAVIS met Konstantin Kilimnik (KILIMNIK) was in Moscow
           He was introduced b y !            I This was probably aro und the t ime                                 b6
           _ _ _ _! went to Ukraine.                                                                                b7C

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           When as ke d about DMP' s Moscow off i ce, DAVIS said Blac k MANAFORT St one and
           Ke lly had a Moscow office bac k i n 1992 , b ut DMP did n ot h a v e an office
           t here . DAVI S only went t o Mos cow t o meet wi th DERI PASKA .

           DAVIS tried t o put KIL I MNIK in Montenegro but e nde d up not hiring him . He
           learned KILI MNIK was working for DMP in Ukrai ne from !               I DAVIS                            b6
           descr i bed KIL I MNIK as the "I RI guy . " KI LIMNIK was refe rred as a pote ntial                       b 7C
           hi re b ecause he spo ke Russian and had polit i ca l experi e n ce . DAVI S l a t e r
           l earned in the media t hat KI LIMNIK was Army I n te l l igence . DAVIS d id not
           particul ar l y like KI LIMN IK .
                                                      ------------------------
           Cyprus

           When as ke d about work in Cypr us , DAVIS s t ated he did not wo r k t here .
           MANAFORT may have been i n vo l ved in a campaign wh en DERIPASKA's l awyer was
           running for Prime Minister, but DAVIS was n ot involve d . DAVIS d i d not know
           the name of DERIPASKA ' s l awyer . DAVIS never met wit h the l awyer and never
           we n t to Cyprus .

           DAVIS a l so did pol itical wo r k in Panama and Argentina i n the ear l y 2 0 00s .

           Foreign Agent Registra t i on Act (FARA)

           When as ke d about l obbyi ng i n t h e US, DAVIS sta t ed h e used ~l_ _ _ _ _ ___,i as                  b6
           a lawyer t o look into FARA issues . He did n ot l obby much . Lobby ing was not                          b?C
           part o f DAVIS ' s b usiness .

           DAVIS stated he did not do US outreach for Mo n teneg ro .

           DAVIS d i d h ave conversat ions with MANAFORT abo ut FARA . They h ad frequen t
           co nversations regarding FARA when clients wan ted to l obby in the US . DMP
           did not do l o b by ing in the US, but woul d h ir e d firms to t h e work .

           DERI SASKA and MCCAIN

           MCCAIN and DERI PASKA met o n two occasions . The first time was in Davos
           a r ound January 2 00 6. They h appened t o be in the same place at t h e same
           time. During this f irst meeting , MCCAIN and DAVIS were i n Davos together .
           DERI PASKA h ad a b ig dinner.             I
                                                 ialso had a b ig dinner a t Cloisters , and                         b6
           DERIPASKA was there. DAVIS i n t roduce d DERI PASKA to MCCAIN a t t h a t d inne r .                     b7C
           They engaged in small talk.

           The second time MCCAIN and DERIPASKA me t was i n Monte n e gro around Aug ust
           2006. MCCAI N was trave l i ng in Eastern Eu rope with eight other US Se nators .
           Th e Senators went to Georgia and then Montenegro . MCCAI N had been i nvi ted
           to Mont enegro b y the Prime Minist e r. Whil e the r e , t h e Pres i den t of
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                                                                                -------
            Mo nt enegro threw a b ig party with government officials a n d others . When
            DE RIPASKA and !                     I
                                        l ear ned t he d elegation was comin g, they decided                   b6
            to bri ng the ir y achts to the port in Monten e gro , and they me t MCCAI N after                 b7C
            t he di nner party . _________________________________.
           !                 ! I t was a socia l meeting . DERI PASKA had a clo se relatio nship
            with and investments i n Montenegr o . There were no requests by Montenegro
            to reach out to US . They did not n eed US influence for the Montenegro
            re f ere ndum .

            Eu rasia 2 1

            Eurasia 21 was a DMP p r oject . At the t ime , there was no easy way to know
            about current events in the news i n Eastern Europe. They wanted to set u p
            a web por tal for East ern Europe press reporti ng , translat ed to Englis h and
            put o n l i ne in o r der t o aggregat e n ews i n one p l ace . I         ! funded                b6
            t he pro j ect but ultimate l y, it shut down . The website was set up by a                        b 7C
            woman named          I     ! and a t hink tank in DC was hired to run the content .
            DE RIPASKA was a l so involved i n Eurasia 2 1 . He knew a b out t h e pro j ect b ut
            d id not f und it . The Eurasia He ri t a ge Fu nd was something differe n t .

            DERIPASKA was prac t i cal with his r e l ationship with Russia a nd PUTIN. He
            knew PUTIN could giv e a nd take away and PUT IN's fav or was pract ical t o
            DERIPASKA' s bus i n ess .

            Basel (Basic Ele ment) was DERIPAS KA's hold i ng company . DAVIS did not
            recall exactly but believed there were Basel offi ces in Moscow a nd Lond o n .
            DAVIS at t ended a Basel b oard meeting in London one t ime .

            DERIPASKA' s invo lvement i n o ther c ountries

            Wh e n as ked if DE RI PASKA funded anything other t h an Monten eg ro, DAVIS said
            h e may hav e funded Georgi a work as we l l as various activit ies , such as
            polling , in other countries . It was hard to de t ermine who was paying wh at
            b i ll b e c a use o verseas wires came f r om entities. I t was uncl e ar who the
            sender was and the d esc ription of work was not always listed on wires.

            Loans f rom DERIPASKA

            DAVIS was no t awar e of loa n s f rom DERIPASKA . MANAFORT t a l ked about
            receiving loan, b u t DAVIS did not think any of the money coming i n was
            ac tual ly a loan. MANAFORT said they were going to t rea t money as a l oan
            f r om DERIPASKA, b ut DAVIS was concer ned rega rding t h i s . DAVIS understood
            the purpose of treat ing t he i ncomin g fund s as a loan was to shield income ;
            however this was not explici tly said. DAVIS n eve r saw a l oan agreement .
            DAVIS s t ated DAVIS MANAFORT/DMP made a lot of money f r om DERI PASKA in the
            form o f income , but they had never received a " loanu from Deri paska before.

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          DERIPASKA did not loan money for Trump Tower . At the time , DERIPASKA and
         I          !were paying DMP for work DMP had done .                                                         b6
                                                                                                                     b7C
          DAVIS was referred to an email chain dated September 13, 2007 with the
          subject of "JOHN HANNAH . " (Exhibit 1) Th e email chain i nc luded a thread
          be tween MANAFORT AND            I                I
                                                  copying DAVIS , !               and ._!_ __.!                      b6
         I                      !asked for more detai ls about t h e loans from t he
                                                                                                                     b7C

          Ukrainian/Russian l ender . MANAFORT responds stating "this was a loan to
          J HI for i nvestment purposes. They NY apt was such an investment." DAVIS
          did not t h i n k it was a loan . DAVIS n e ver saw the l oan documents , was not
          aware of any l oan t erms and the loan was not repaid. Money received b y DMP
          from DERIPASKA was for services.

          DAVIS ' s last communication with DERIPASKA was a rou nd Oct ober 2006 .

          When MANAFORT a n d DAVIS were winding down their b u siness toge t h er, t h e r e
          were discussions regardi ng t he "loans" to JOHN HANNAH a nd from a Russian
          l e nder . i      i handl ed this because MANAFORT and DAVI S did not                                      b6
          communi cate with each other very much at this time . DAVIS told !_ _ _ _! he                              b7C
          did not think t hey were l oans and if t here were any loans on the books ,
          DAVIS was suspicious of them . DAVIS t o l d !     ! t hat MANAFORT could keep
          any of the assets derived from the " l oans •  11




          Other Loans

          When as ked if he was aware of other l oans used to p u rchase assets , DAVIS
          stated that he did not know if the Traxys investment had been p urchased
          with a loan , but it was bought by J OHN HANNAH . In t he winding down, TII
          Holdings and JOHN HANNAH went t o MANAFORT and Traxys went t o DAVIS .

          DAVIS was not aware of promissory no tes where he owed money to t he
          business . DAVIS was shown p r omissory notes from 2005 and 2007 from DMP to
          DAVIS (Exh ibit 2). DAVIS did not recall execut ing promiss o r y notes and did
          not know wh y he would have a promissory note . He does not recal l receiving
          the money or the p romissory note. The amount of t he promissory no te i n
          2005 ,    I           ! was c l ose to annual income from DMP . The amount of t he                         b6
          p r omissory note i n 2007,          !                 !
                                                       was more t h an he be l ieved he had                          b7C
          received in i ncome t hat year. Fun ds received by DAVIS from DMP were income
          not loans .

          DAVIS woul d have seen ledgers for DMP and JOHN HANNAH p rior to 2007 . DAVIS
          used KWC to p repare his taxes. He does not ever recall seeing loans on the
          boo ks of the company. DAVIS could not recall if he received d i stributions
          in 2008 , but it was po ssible.

          DMP I ncome
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            When DMP was winding down, I         !d id not as k about the p romis sory notes ,                                           b6
            or funds " Due from DAVIS" . Funds were divided 50/50 between MANAFORT and                                                   b7C
            DAVIS . Duri ng the years 2006 t h rough 2008 , DAVIS had quit t aking sa l ary
            from DMP . His distribution from DMP was f rom p r evious act i vit y , not from
            new client fu nds .

            some funds received would have go ne directly to J OHN HANNAH instead of
            DMP . DAVIS was not awar e of money going to LOAV unless MANAFORT would h ave
            d irected tha t.

                                                                                                                                         b6
                                                                                                                                         b7C
            DAVIS ' S last contact with                                   was in New York . DAVI S r an i nto him six
            months a go .
           !          !
                    was st._i_·1- 1- -i-n_ c_o_n_t_a_c_t _ w_i_t_h....,.,_-_-_-_-_-_-_-:::::~~~=-w-o_r_k_e_d_ i_·-n --.------.---'
                                                                                                                                f or
            DAVIS. I             I might have also done a little work in
                                                                                              -----------
                                     '
            Funds received by Foreign Entities

            DAVIS was as ked a bout $1 4 million t o DMP from Vega Holding s in 2005 , of                                              b6
            which DAVIS rece i v e d app roxi mate l y ._!______ DAVIS did not know for!                                               b7C
            sure , bu t thought i t might have been for work done for Akhmetov .

            When as ke d whether t h ere we re wri tten cont ract s , DAVI S s tated t hat i t was
            rout ine t o ha v e cont rac t s wit h corporate clients , but t his was di ff ic ul t
            with governmen t s. DMP l i ke ly had a contract with AKHMETOV because it was a
            corp orate pro ject and they hired a n ac countant/ law firms a nd nee d ed t o pay
            t h em.

            Po litical co nsulting cont racts were divided i nto phase , but DAVI S d id not
            know specifics on contracts with Ukraine as he did not wor k on Ukraine .

            When as ke d about ANTES MANAGEMENT , DAVIS did not recal l why DMP was paid
            by the company . When asked about SCM, DAVIS sa id it could have relat ed to
            AKHMETOV. When as ke d about NEOCOM SYST EMS and ALGEMES SOLUT IONS , DAVIS d id
            not recall why they were be i ng paid by these entities .

            PERI CLES

           PERICLES was an outgrowth of act i vities in Eas t ern Europe .
           ___________________________ was not that i n terested in                                                                    b6
            i nvest ing i n t he ventur e because he had his own hedge f und . DAVIS and                                               b7A
                                                                                                                                       b?C
            MANAFORT did no t know much about p riva te e quity so t hev reach ed out t o


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                                                                                                                                                                    b7A
          I                                                                 I They l aunch ed t he f u nd, docume n t s we r e
           e xe cut ed and oppor t unitie s were looke d a t .

           DAVIS d id no t go to Ukraine or Poland to loo k for inv es t ments b ecause h e
           left to work for the MCCAIN campaign. By the time DAVI S had finished
           wor king f o r MCCAIN , MANAFORT sa i d PERICLES was done . MANAFORT s aid
                                         I DAVIS d id not know about I                    I                                                                                b7A
                                                                                                                                                                I
                                                                                                                                            I
                            I DAVIS was no t aware that inve s t ment s we r e made . He
          ---------
          1 earned of the i nvestme nts t h rough t he Cayman Is l ands lawsui t . DAVI S did
           no t ha v e d i scuss i ons wi t h MANAFORT rega r ding the l awsuit or the d epos i tion
           in connectio n with the lawsuit .

           MANAFORT had t o l d DAVI S t ha t around Novembe r 2008 ,
                                                                                    DAVI S did not s p eak wi th!                                                   b6
          ~r_e_g_a_ r _d_i_n_g_ t_h_e__i _n_v_e_s_t_m
                                                    _e_n_t_ s ____D_A_V
                                                                      _I_S_ h_a___,
                                                                                s not s poke n with !;..:.,;:.;.:.:.....;.;..::..:.:.:.i:~!rs-i-.n- c_e _ __.       b 7A
                                                                                                                                                                    b7C
           around 2006 . When as ked if he spo ke with !      ! regardi ng the matter , DAVIS
           said !    ! had pul led out . DAVIS had spo ken wi t h h im in t he spr i ng o f 2009 .

           Cyprus Bank Accounts

           DAVIS was no t awar e o f t h e Cyp r i o t ba nk account s . DAVIS was no t aware o f
           any accounts set up in the Cayman Islands . When DAVIS left , ther e were no
           Cayman accounts set up .

           Other Contacts

           DAVIS did not know who ~1------~l was .                                                                                                                         b6
                                                                                                                                                                           b7C
          _______,! sounded fami liar , but DAVI S did not know him .

           ______!was a _________________, who had wor ked with MANAFORT                                                                                                   b6
                                                                                                                                                                           b 7C
           on Ukraine s t uff . DAVI S has not had contact with !                                                       ! in about a decade .

           _ _ _ _ _ _ _ __,! was                                                                                       DAVIS wa s no t awa r e                            b6
           of any work she d id f or DMP .                                                                                                                                 b 7C


           A f ew years ago , DAVIS b ecame aware that MANAFORT was using DAVI S' s name
           after he left the company. MANAFORT did no t ask permission . DAVI S called
           RI CK GATES a nd told h i m not to us e his name or h i s init ials .




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           _ _ _ _ _ _ _ _ _!worked for DMP and had previ ously wor ked for DAVIS a s an                            b6
                                                                                                                    b7C
            intern for MCCAI N work i n 2000 . I      !was involved in Montenegro , the
            Pa nama Pres i dent i al Campaign, and Ukrai ne .            I
                                                                 ! l eft DMP to wor k on
            MCCAIN campaign.


                                                                                                                    b6
                                                                                                                    b4
                                                                                                                    b7A
                                                                                                                    b7C




                                                   I


                                                                                                                    b6
                                                                                                                    b7A
                                                                                                                    b7C




           _ _ _ _l and MANAFORT had a r e l at i o n ship as very c l ose f r i e nds . They were                  b6
           i nvolved in some b usiness together . Ther e was a p r oject i nvol ving                                b7A
                                                                                                                    b7C
           i nsurance i n Vir g i nia .
                                                                                                                    b6
            DAVIS did not know who .__ _ _ _ _ _ _ _ ____,! was .                                                   b7C


            DAVIS said he had not met !_ _ _ _ _ _ _ _! and had no business with him .                              b6
                                                                                                                    b7A
                                                                                                                    b7C
            DAVIS did no t meet SERHIY LYVOCHKIN, VICTOR YANUKOVYCH , or RI NAT AKHMETOV .
            DAVIS knew MANAFORT worked for AKHMETOV as the Party of Re gions. AKHMETOV
            was the Party o f Regions pos t -Yusch e nko e l ection and the Orange Re v o l u tion .

            Memo dated July 1, 2005 from MANAFORT and DAVIS to DERIPASKA regarding
            «work Pian" <Eihihi € §j

            When shown the memo, DAVIS d i d not specifical ly recall the document, b ut
            he h a d no reas o n t o believe it was n ot sent t o h im. The p urpose of t h e
            memo was to line up projects . Fun d ing was project by project .

            DERIPASKA, MANAFORT and DAVIS me t in Mos c ow p robably three times. Some
            things in the memo materia l ized. Georgia and Ukraine mat erialized . DAVI S
            was n ot aware i f Ta jiki s tan materia l ized . MANAFORT possib l y d id some wor k
            t her e.

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          DERIPASKA never retained DMP to do lobbying i n the us. He was not looking
          for this service .

          When as ked if DMP hired Akin Gump , DAVIS did not know of this. When asked
          i f they hir ed Project Associ a tes, DAVIS stated they were hi red for
          communi cat ions and p ublic relations work in Montenegro but not in the US.
          It was an EU centric campaign .

          DAVIS said there never was a Moscow DMP office. When asked why the Moscow
          office was referenced , DAVIS stated t hat KILIMNIK worked for DMP, and h e
          was in Moscow .

          Memo dated July 1, 2006 from MANAFORT to DERIPASKA regarding "Work Plan
          and Rode!" <Exhibit aj
          DAVIS was shown a me mo f rom July 2006 f r om MANAFORT and DAVIS to
          DERIPASKA . DAVIS generall y recalled the document , b ut no t the specifics.
          DAVIS commented i t looked l i ke a draft because the work was not completed .
          The document was l i kely wri tten by MANAFORT . Gener al l y, MANAFORT would
          write proposal s and plans. DAVIS d i d not k now who the "Basel Officials"
          were . DAVIS met with DERIPASKA d i rectly when met with Basel . MANAFORT may
          h ave met with other offic i als at Base l .

          When as ke d about the reference to Ukrai ne, DAVIS said Ukraine was t he
          economic driver in t h e region, but DERIPASKA was not that interested in
          Ukraine . DERIPASKA was friends with people associated with t h e Party of
          Regions such as AKHMETOV and YANUKOVYC H, but DERIPASKA was not active l y
          involved in Ukraine politics. That was AKHMETOVs ' turf .

          When as ke d a bout work in Georgia a n d "-sta n" countri es, DAVIS stated t hat
          by the time of this memo , DAVIS was done in Georgia. The work in t he
          "stans" did not come to frui tion .

          When as ked why foreig n po lit icians a nd businessmen were hiring DMP, DAV I S
          stated that t h ey thought DMP was smarter.

          When as ked about the reference to the Eurasia Heritage Fund, DAVIS did not
          know exactly what t his was r e ferr i ng to . Thi s was not t he Euras ia 21
          website . It may have been an NGO or a t h ink tank . DAVIS said it was not a
          fu nd or a charitable entity . There were no conversations regard i ng thi s
          type of enti ty being used for thi s work .

          Russian NGO

          BLACK, MANAFORT , STONE AND KELLY , had a rich history in Russia. They
          he l ped set up the stock exchange a n d cabinet . In the early 1980s , the post-

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             Soviet era , t here were conversations about the developmen t of ins t itutions
             and NGO deve lopment because Russ i a did not have any . DAVI S d i d no t know if
             anythi ng eve r materialized.

             DAVIS a l so reca l l ed conv ersations about public policy a nd social
             responsibility by the Russian elite. Relations with Russia were different
             i n those times . I t was mo re fri e nd l y.

             Oguster

             DAVIS did not reca ll who Ogus t er was. He was not familiar with the entity.

             Email dated August 29, 2 0 16 from DAVIS to                                                                                                                                                                     of KWC
             with s ubJect «Re: RKD Partners pending ques tions;; (Exhibit                                                                                                                          5)
             I n the email , I                                                I asked DAVI S about t h e status of l
                                                                                                                                                                                                                                                    b6
                                                                                                                                                                                                                                                    b7C




             When as ked if had ever been paid v i a stock or shares , DAVIS s t ated that he
             as ked for this but never received it . DAVIS wanted equit y posit io n, b ut
             was no t offered one .

             T- II Hol dings and IGPS wer e part o f t he Traxys portfo l io of Pegasus . JOHN
             HANNAH invested in these companies . When JOHN HANNAH wound down, DAVIS
             ended up wi th T- II , and DAVIS and MANAFORT split IGPS 50/5 0 .

             Exec uted. Termina tion Do cument of JOHN HANNAH (Exhibit 6 )

             DAVIS was shown a n executed termination document of JOHN HANNAH . DAVIS
             stat ed it was h is signature on the document. He did no t recall the
             do cument specifically, b ut he had no reason to believe it was no t the
             actual document .

             DAVIS did not r ecall the assumption of the Russian lender debt o f !                                                                                                                                                                        b6
          ._____.!     Al though, DAVIS did not reca l l the debt , he signed the do~c_u_m_e_n_t....,                                                                                                                                                     b7C

             saying he was assuming the debt. DAVIS stated t hat this d id sound
             familia r, but t h e goal was to get MANAFORT to t ake on the Russian l ender
             de bt .

          ,.....w....h...e._.n......a=s .,.k...e""d:......:i...:f......t...h=i ...,
                                                                               s ___..p""u...t......o.,.n..._D
                                                                                                             ..,A
                                                                                                                ::.;..;.
                                                                                                                    V-=I""S'-'...s....._.b....0....0.....,.k""s..,,--=D;.;A
                                                                                                                                                                          ;,,._V
                                                                                                                                                                               :...I""S"--,;;;.
                                                                                                                                                                                            a""s""s"""um
                                                                                                                                                                                                       .....,.e...d..., so b ecause!                      b6
          ~l________________________________.l when as ked ~w                                                                                                                                                                        _ h_y_ h_e_.         b7C

              agreed t o assume the debt, DAVIS said MANAFORT tol d him DERIPASKA had
              loa ned them money . DAVIS questioned t his . DAVIS s t ated that there was no
              loan. DERIPASKA pa id them fees ; he did not lend money. When asked how h e

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          ended up with the debt , DAVIS said he did no t know . DAVIS t hought this was
          irr e l e vant b e c a us e he did not b el i e ve t her e was a loan a nd d i d not be lieve
          they owed any mo ne y.

          YIAKORA VENTURES

          DAVIS had not hear d of YIAKORA .

          JOHN HANNAH

          DAVIS be lieves JOHN HANNAH was re-incorporated by MANAFORT in Florida
          after they separat ed . DAVIS l ear ned t h i s f r om t he indictment .

          Memo from MANAFORT to AKHMETOV dated June 2, 2005 with the subj ect "Re :
          MaJor Development in US Government Position on Ukraine Re-Privatization 11

          DAVIS d i d not recall MANAFORT contacting the Nat i ona l Secur i ty Counci l
           (NSC) about the re - pr i vatization issue . MANAFORT did not ever lobby
          di rect ly for anyone. He had relationships. DAVIS was not sure if MANAFORT
          had a point of contact o n the NSC at the t i me . It was not unl ike MANAFORT
          to ask someone to ask someone for him. DAVIS d id not k now specifica ll y who
          his contacts were because MANAFORT had been out of domestic business for a
          long time .

          Additional Contacts

          When as ked about                                                                                     b6
          them well.                 -------------------- DAVIS stat ed he knew                                 b7C


          When as ked about ROHRABACHER, DAVIS said MANAFORT knew ROHRABACHER from
          the 1980s during freedom fighte r days of the Angol an war . DAVIS did not
          know if MANAFORT and ROHRABACHER maintained t heir acquai n tance.

          DAVIS d i d not know o f a r e lationship between AKHMETOV a nd Russia .




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